CaSe 1:17-cV-0054O-CG-C Document 1-1 Filed 12/07/17 Page 1 of 108

EXHIBIT A
(State Court Pleadings)

Case 1:17-cV-0054O-CG-C D@@@ir)ile§@§¢£};-ll Filed 12/07/17 Page 2 of 108
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.-lg':.?' 02-CV-2017-902859.00
1 CIRCUIT COURT OF
Stat° °f A'abama COVER SHEET C: MQBILE COUNTY, ALABAMA
U""'°d J“‘"°§a' Sy$tem ClRCU|T COURT - ClV|L CASE O‘ JOJO SCHWARZAUER, CLERK
- _ Not For Domestic Re|ations Cases) Dat@ OT §"'"Qi JUGQ@ UOO€?
Form ARcw 93 Rev.5/99 ( 11/01/2017

 

 

 

GENERAL INFORMATlON

 

lN THE ClRCU|T COURT OF MOB|LE COUNTY, ALABAMA
FRANK H. KRUSE v. E|GHT MlLE NURS|NG AND REHAB|L|TAT|ON CENTER DBA ET AL

First P|aintiff: §§ ;Business

,:j Government §§ Other

§v§|ndividua|

f '§ individual
§:] Other

First Defendant: §Q§Business
m Government

 

NATURE OF SU|T: Se|ect primary cause of action, by checking box (check only one) that best characterizes your action:

 

TORTS: PERSONAL lNJURY
WDEA - Wrorigfu| Death
'v. TONG - Neg|igence; Genera|
i TOi\/iV - Neg|igence: |\/iotor Veiiic|e
§ TOWA - Wantonness
§ji TOPL - Product Liabiiity/AEMLD
§:“_§ TOi\/i|V| - lV|a|practice-|V|edica|
§j TOLI\/i - N|a|practice-Legai
§§ TOO|V| - Maipractice-Other
§ § TBF|V| - Fraud/Bad Faith/i\/|isrepresentation
§; TOXX - Other:

TORTS: PERSONAL lNJURY
1 TOPE - Persona| Property
TORE - Rea| Proper|y

OTHER ClV|L FlLlNGS
§ `I ABAN - Abandoned Automobi|e
§_ § ACCT - Account & Nonmortgege
{ § § APAA - Adrninistrative Agency Appea|
§ ADPA - Administrative Procedure Act
" §§ ANPS - Adu|ts in Need of Protective Service

 

OTHER ClV|L F|LlNGS (COnt'd)
§ § MSXX - Birth/Death CertiHcate Modincation/Bond Forfeiture Appea|/
Enforcemerit of Agency Subpoena/Petition to Preserve
1 ' CVRT - Civi| Rights
§ COND - Condemriation/Eminent Domain/Right-of~Way
§§ CT|\/iP - Contempt of Court
§r_'§ CONT - Contract/Ejectment/V\/rit of Seizure
§:§ TOCN ~ Conversion
§:j EQND - Equity Non-Damages Actions/Deciaratory Judgmerit/
injunction Eiection ConteSt/Quiet Tit|e/Sa|e For Division
§§ CVUD - Eviction Appea|/Un|awfu| Detairier
FORJ - Foreign Judgment
::"i FORF - Fruits of Crime Forfeiture
` |ViSHC - Habeas Corpus/Extraordinary VVrit/i\/iandamus/Prohibition
PFAB - Protection From Abuse
FELA - Rai|road/Seaman (FELA)
:_`,? RPRO - Rea| Property
§ WTEG - Wii|/Trust/Estate/Guardianship/Conservatorship
§V:_§ CO|V|P - Workers’ Compensation
§_*:§ CVXX - i\/|isce||aneous Circuit Civi| Case

 

oRiGiN: F §v_`é lNlTlAL FiLiNG

R ` REMANDED

A § APPEAL FRoM
DisTRicT couRT

T TRANSFERRED FRoM
orHER ciRcuiT couRT

0 orHER

 

HAS JURY TR|AL BEEN DEMANDED?

LV`YES '_

Note: Checking "Yes" does not constitute a demand for a

§NO jury tria|. (See Ru|es 38 and 39, Ala.R.Civ.P, for procedure)

 

REL|EF REQUESTED:

§Vy MONETARY AWARD REQUESTED

" §NO MONETARY AWARD REQUESTED

 

ATTORNEY CODE:

SPE012
Date

11/‘1/20171227104 PM

/s/ |\/iark E Spear
Signature of Attorney/Party filing this form

 

 

 

MED|AT|ON REQUESTED:

_`§YES ;"'jéNo §'vi u_NDEciDED

 

 

CaSe 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 3 of 108

 

state of Alabama SUMMONS Court Case Number
Unlfled Judicial System 02_C\/_2017_902859_00
Form c-34 Rev.4/2o17 - ClV|L -

 

 

 

lN THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA
FRANK H. KRUSE V. E|GHT MlLE NURS|NG AND REHAB|L|TAT|ON CENTER DBA ET

NOTICE TO' E|GHT MlLE NURS|NG AND REHAB|L|TAT]ON CENTER DBA, C/O R|CHARD G|LL 444 S. PERRY STREET, MONTGOMERY, AL 36104

 

(Name and Address of Defendant)

THE COl\/lPLA|NT OR OTHER DOCU|\/lENT WH|CH lS ATTACHED TO TH|S SUl\/ll\/lONS lS ll\/lPORTANT, AND YOU N|UST

TAKE ll\/lMED|ATE ACT|ON TO PROTECT YOUR R|GHTS. YOU OR YOUR ATTORNEY ARE REQU|RED TO FlLE THE

OR|G|NAL OF YOUR WR|TTEN ANSWER, E|THER ADl\/l|TTlNG OR DENY|NG EACH ALLEGAT|ON lN THE CO|V|PLA|NT OR

OTHER DOCUN|ENT, WlTH THE CLERK OF TH|S COURT. A COPY OF YOUR ANSWER MUST BE lVlAlLED OR HAND

DEL|VERED BY YOU OR YOUR ATTORNEY TO THE PLA|NT|FF(S) OR ATTORNEY(S) OF THE PLA|NT|FF(S),

l\/lark E Spear l
[Name(s) of At?orney(s)]

WHOSE ADDRESS(ES) lS/ARE: Post Of'fice BOX 1347, Nlobi|e, AL 36633
[Address(es) of P/a/`ntiff(s) or Attomey(s) ]

THE ANSV\/ER l\/lUST BE MA|LED OR DEL|VERED W|TH|N 30 DAYS AFTER TH|S SUM|V|ONS AND CO|V|PLA|NT OR
OTHER DOCUIV|ENT WERE SERVED ON YOU OR A JUDGN|ENT BY DEFAULT NlAY BE RENDERED AGA|NST YOU FOR
THE MONEY OR OTHER TH|NGS DEMANDED lN THE CO|V|PLA|NT OR OTHER DOCUN|ENT.

 

TO ANY SHER|FF OR ANY PERSON AUTHOR|ZED BY THE ALABAMA RULES OF ClV|L
PROCEDURE TO SERVE PROCESS:

You are hereby commanded to serve this Summons and a copy of the Complaint or other document in

this action upon the above-named Defendant.
v Service by certified mail of this Summons is initiated upon the written request of FRANK H. KRUSE

 

 

 

 

 

 

 

 

 

 

 

 

pursuant to the A|abama Ru|es of the Civi| Procedure. [Na”""`($)]
11/1/20171:25:50 PlVl /s/ JOJO SCHWARZAUER By:
(Date) (Signature of Clerk) (Name)
§~(§ Certified l\/lail is hereby requested /s/ Nlark E Spear
(F/aint/'ff's/Atforney's Signature)
RETURN ON SERV|CE
l ‘ Return receipt of certified mail received in this office on
(Date)
: l certify that | personally delivered a copy of this Summons and Complaint or other document to
in County,
(Name of Person Served) (Name of County)
Alabama on
(Date)
(Address of Server)
(Type of Process Server) (Sen/er's Si'gnature)

 

 

(Server's Printed Name) (Phone Number of Server)

 

 

CaSe 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 4 of 108

 

stats ofAlabama SUMMONS Court Case Number
Unlfied Judlclal System 02-C\/-2017-90285900
Form c-34 Rev.4/2o17 - ClV|L -

 

 

 

|N THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA
FRANK H. KRUSE V. E|GHT MlLE NURS|NG AND REHAB|L|TAT|ON CENTER DBA ET

NOT|CE TO; SouTHERN cARE HosPlcE, iNc. c/o iviicHAEL PARDY 1110 MONTLiM/\R DRivE. ivioBiLE, AL 36609
(Name and Address of Defendant)

THE COMPLA|NT OR OTHER DOCUMENT WH|CH lS ATTACHED TO THlS SU|\/ll\/lONS |S ||VlPORTANT, AND YOU l\/lUST
TAKE |NllVlEDlATE ACT|ON TO PROTECT YOUR R|GHTS, YOU OR ¥OUR ATTORNEY ARE REQU|RED TO FlLE THE
OR|G|NAL OF YOUR WR|TTEN ANSWER, E|THER ADM|TT|NG OR DENY|NG EACH ALLEGAT|ON |N THE CO|V|PLA|NT OR
O`|'HER DOCUMENT, VVITH THE CLERK OF TH|S COURT. A COPY OF YOUR ANSWER NlUST BE MA|LED OR HAND
DEL|VERED BY YOU OR YOUR ATTORNEY TO THE PLA|NT|FF(S) OR ATTORNEY(S) OF THE PLA|NT|FF(S),

l\/larl< E Spear

 

[Name(s) of Artorney(s)]

WHOSE ADDRESS(ES) |S/ARE: Post Office BoX 1347, l\/lobi|e, AL 36633
[Address(es) of P/ainliff(s) orAttorne,v(s)]

THE ANSVVER MUST BE |VlA|LED OR DEL|VERED W|TH|N 30 DAYS AFTER TH|S SUIV|MONS AND CON|PLA|NT OR
OTHER DOCUMENT WERE SERVED ON YOU OR A JUDG|V|ENT BY DEFAULT NlAY BE RENDE.RED AGA|NST YOU FOR
THE MONEY OR OTHER TH|NGS DEMANDED |N THE CON|PLA|NT OR OTHER DOCUMENT.

 

TO ANY SHER|FF OR ANY PERSON AUTHOR|ZED BY THE ALABAMA RULES OF ClV|L
PROCEDURE TO SERVE PROCESS:

§vi You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
this action upon the above-named Defendant.
‘ Service by certified mail of this Summons is initiated upon the Written request of

 

 

 

 

 

 

 

 

 

 

 

pursuant to the Alabama Rules of the Civi| Procedure. [Name('°`)]
11/1/20171:25:50 P|\/l /s/ JOJO SCHVVARZAUER By:
(Date) (Signature of C/erk) (Name)
Certified l\/lail is hereby requested.
(P/a/'nti)‘f's/Attorney's Signature)
RETURN ON SERV|CE
1 Return receipt of certified mail received in this office on
(Date)
' § | certify that l personally delivered a copy of this Summons and Complaint or other document to
in Countyl
(Name of Person Served) (Name of County)
Alabama on
(Date)
(Address of Server)
(Type of Process Server) (Server's Signature)

 

 

(Server's Printed Name) (Phone Number of Server)

 

 

 

Case 1:17-cv-00540-CG-C Doclameaitnlzl Filed 12/07/17 Page 5 of 108

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ClRCUlT COURT oF

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IN THE ClRCUlT COURT oF MOBILE COUNT %?§'§§HWXSKYGQEFY€EW

FRANK H. KRUSE, as Personal Representative of
The Estate of Bertha l\/l. LaGrone, deceased;

P|aintiff,

V Case No.

 

REHABILITAT]ON CENTER, LLC d/b/a
NORTH MOBILE NURSING AND REHAB
CENTER; and SOUTHERN CARE
HOSPICE, INC, d/b/a SOUTHERN CARE
GREENVILLE., and fictitious defendants l-3
whose identities are currently unknown,

*

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EiGHT MlLE NuRsING AND *

*

* JURY TRlAL DEMANDED
*
*
*
*
*

Det`endants. *

COMPLAINT

COl\/IES NOW, Plaintit`t`, FRANK H. KRUSE, as Personal Representative of The Estate of
Bertha M. LaGrone, deceased and against the named Defendants EIGHT MlLE NURSlNG AND
REHAB[LITATION CENTER, LLC., SOUTHERN CARE HOSPICE., Inc., and the fictitious
DEFENDANTS 1-3, states:

I. Plaintif`f, FRANK H. KRUSE, as Personal Representative of The Estate cf Bertha l\/I.
LaGrone, deceased, has full legal authority to act as Personal Representative of Bertha l\/l. LaGrone's
estate. (See Exhibit A)

2. Det`endant EIGHT MIL,E NURSING AND REHABILITATION CENTER, LLC., d/b/a
NORTH MOB!LE NURSING AND REHAB CENTER, ("EIGHT MlLE") is, on information and belief,
a nursing home licensed to do business in the State of Alabama claiming to specialize in the care of
individuals who are chronically infirm, mentally dysfunctional, and/or in need of 24 hour skilled nursing
care and treatment

3. Defendant SOUTHERN CARE HOSPICE, INC, d/b/a SOUTHERN CARE
GREENVILLE ("SOUTHERN") is, on information and belief, licensed to do business in the State of
Alabama Claiming to specialize in the care of individuals who are chronically inl”irm, and/or mentally

dysfunctional,

CaSe 1217-CV-00540-CG-C D®QMI@BM]`_L Filed 12/07/17 Page 6 Of 108

4. Defendant SOUTHERN provided care to Bertha M. LaGrone during her stay at EIGHT
l\/IILE.

5, Fictitious Defendant l - Those persons, firms, or entities who negligently or wantonly
hired, supervised, and/or retained employees of the named Defendants who were responsible for the
care, treatment and supervision of l\/ls. Bertha l\/l. LaGrone.

6. Fictitious Defendant 2 - Any other firms, corporations, entities, or individuals doing
business as Eight l\/lile Nursing and Rehabilitation Center, LLC and/or Southern Care Hospice, lnc.,
defendants;

7. Fictitious Defendant 3 - Any healthcare providers whose signature(s) are illegible within
any records produced/received during the course ofthis litigation

8. Defendants had a plan for their nursing facilities to maintain or increase resident census,
control costs, and maintain or increase revenues.

9. Defendants’ methods of operation have also included alteration and/or fabrication of
nursing home records to indicate care was provided when it was either not provided, or was provided
and not contemporaneously documented

IO. Defendants’ methods ofoperation have also included receiving payment from residents
and their reimbursement sources such as Medicare and Medicaid without adjustment for services that the
defendants did not provide, or for services which otherwise did not meet the acceptable standard of care
required tojustify payment for said services.

l l. The identities of fictitious party defendants l-3 are unknown to the Plaintiff at this time,
or ifthey are known to the Plaintiff at this time, they are not known as a party defendant; however, when
Plaintiff ascertains the identities ofthese parties, they will be substituted in accordance with the rules of

procedure

w

12. Plaintiffs decedant, Bertha l\/l. LaGrone was a resident of the Defendant, EIGHT MlLE
at all times pertinent hereto where she was admitted for rehabilitation and care.

l3. SOUTHERN operated within EIGHT MlLE providing services to l\/Is. Berth LaGrone.

14. During all times pertinent, the Defendants were well aware of l\/ls. Bertha LaGrone's
medical condition and her medical diagnoses

15, The Defendants were also well aware that Bertha LaGrone's medical condition made her
a high risk for development ofdecubitus ulcers.

16. in an effort to assure that Bertha LaGrone and other residents were placed at the

defendant`s facilities, the Defendants held this facility out to the Alabama Department of Public Hea|th
2

Case 1:17-cv-00540-CG-C Do)ccmmiaaitifrel Filed 12/07/17 Page 7 of 108

and the public at large as being skilled in the performance of nursing, rehabilitative, health care and
other medical support services, and held EIGHT l\/IILE out as being properly staffed, supervised, and
equipped to meet the total needs of the patients and residents, and held EIGHT MlLE out as able to
specifically meet the needs of l\/ls. Bertha M. LaGrone and others similarly situated

17. Defendants assumed the duty of rendering to Ms. Bertha l\/I. LaGrone nursing,
rehabilitative, health care and other medical support services

18. However, the named Defendants and all fictitious party defendants failed to discharge
their obligations related to this assumed duty of patient care directed toward l\/ls. Bertha LaGrone,
and, as a consequence thereof, l\/ls. LaGrone died as a direct result of Defendants' actions or inactions.

l9. l\/lore specifically, while in the care of the Defendants, Ms. Bertha LaGrone sustained
personal physical injuries including but not limited to septic shock and decubitus ulcers, which led to her
death.

20. In addition to the events outlined above, l\/ls. Bertha LaGrone suffered a pattern and
practice of abuse and neglect evidenced by her, among other things, having feces on her, improper
wound dressing, constantly appearing dirty and unkempt, among other things.

21. The above conditions, as well as the conduct specified below, caused Ms. Bertha
LaGrone to suffer extreme pain and suffering, physical degradation. anguish, and emotional trauma all
culminating in her death.

22. Plaintiff alleges that on all occasions complained of herein, l\/ls. Bertha LaGrone was
under the care, supervision,_ and treatment ofthe Defendants and their agents and or employees and that
her injuries, resulting death and the violations of her residents rights and dignity were proximately
caused by the acts and omissions of the named Defendants, and/or the fictitious defendants named
herein.

23. These Defendants also had and have vicarious liability for the acts and omissions of all
persons or entities under the Defendants’ control, either direct or indirect, including their employees,
agents, consultants joint venturers, and independent contractors, whether in-house or outside entities,
individuals, agencies or pools.

24. l\/ls. LaGrone was eventually transferred to Springhill l\/lemorial Hospital on October 21,

2016 in septic shock due to the stage four decubitus ulcers and died on November i7, ZOl 6.

COUNT I
(NEGLIGENCE)
25. Plaintiff adopts and incorporates by reference paragraphs i-24 as iffully set out herein.
26. Defendants and their employees and/or consultants negligently breached their respective

duties ofcare directed toward l\/ls. Bertha l\/l. LaGrone in one or more ofthe following ways:
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CaS€ 1217-CV-00540-CG-C DOCIG]UJ¥GWE.ZJ. Filed 12/07/17 Page 8 Of 108

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failure to provide sufficient numbers of qualified personnel, including nurses,
nurse assistants, medication aides, and orderlies/nurse assistants (“nursing
personnel”) to meet the total needs of l\/ls. Bertha M. LaGrone while at the same
time meeting the total needs oftheir other nursing home residents which resulted

in inadequate staffing;

l:i} failure of Defendants to be able to adequately and appropriately meet the needs of
Ms. Bertha M. LaGrone;

r.~]l failing to or inadequately training and/or supervising medical personnel
attending Ms. Bertha M. LaGrone;

i.l} failing to adhere to the standard of care exercised by similarly situated health
care providers in the nursing home community;

e) fraudulent charting;

f) failing to meet state requirements as to l\/ls. Bertha M. LaGrone;

g) other deficiencies which may be uncovered during the course ofthis litigation;

h) representing care was provided when it was not so provided;

ij missing documentation; and

j} failing to use proper procedures, equipment, and personnel to help
Ms. Bertha l\/l. LaGrone.

27. As a proximate cause ofthe acts and omissions of defendants, and each ofthem, which

combined and concurred, Ms. LaGrone was injured, damaged and eventually died.

WHEREFORE, Plaintiff demands judgment for damages against each defendant, separately and

severally` including the costs ofthis action.

COUNT Il
(WANTONNESS)
ZE. Plaintiff adopts and incorporates by reference paragraphs 1-27 as if fully set out herein.
Z'J. Defendants and their employees and/or consultants wantonly breached their respective

duties ofcare directed toward Ms. Bertha M. LaGrone in one or more ofthe following

ways:

a)

failure to provide sufficient numbers ofqualified personnel, including nurses,

nurse assistants medication aides, and orderlies/nurse assistants ("nursing

Case 1:17-cv-00540-CG-C Doc)t<rmeltnlel Filed 12/07/17 Page 9 of 108

personnel”) to meet the total needs of Ms. Bertha l\/l. LaGrone while at the same
time meeting the total needs oftheir other nursing home residents which resulted

in inadequate staffing;

b]l failure of Defendants to be able to adequately and appropriately meet the needs of
l\/Is. Bertha i\/I. LaGrone;

r:} failing to or inadequately training and/or supervising medical personnel attending
l\/ls. Bertha l\/l. LaGrone;

di failing to adhere to the standard of care exercised by similarly situated health
care providers in the nursing home community;

e) fraudulent charting;

f) failing to meet state requirements as to Ms. Bertha l\/l. LaGrone;

g) other deficiencies which may be uncovered during the course ofthis litigation;

h) representing care was provided when it was not so provided;

i} missing documentation; and

j} failing to use proper procedures, equipment, and personnel to help l\/ls. Bertha l\/l.
LaGrone.

30. As a proximate cause ofthe acts and omissions ofdefendants, and each ofthem, which

combined and concurred plaintiff was injured or damaged

WHEREFORE, Plaintiff demands judgment for damages against each defendant, separately and

severally, including the costs ofthis action.

Respectfully submitted: November l, 2017

ATTORNEYS FOR PLAINTIFF, FRANK H. KRUSE, as
Personal Representative of The Estate of Bertha M. LaGrone,

/s/ Mark E. Sz)ear

MARK E. SPEAR (SPEOIZ)

G. RANDALL SPEAR (SPEOlo)
Spear, Spear & Hamby, P.C.

Post Office Box 1347

Mobile, AL 36633

(251) 344-8181

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Case 1:17-cv-00540-CG-C Doraoioneiinr\r]r-i Filed 12/07/17 Page 10 of 108

Permission Given By:
/s/ James J. Daz'leii

JAMES J. DAILEY (DAIOOS)
1206 Dauphin Street

Mobile, AL 36604

(251) 441-9946

jdaileyo$(a)hotmail.eom

Please Serve The Defendants As Follows:

'r'l¢'-L CER[ !E!ED MA[L
Eight Mile Nursing and Rehabilitation Center

c/ 0 Registered Agent: Richard Gill
444 S. Perry St
Montgomery, AL 36104

VIA MOBILE COUNTY SHERIFF
Southern Care Hospice, InC.

c/o Michael Pardy

1 1 10 Montlimar Drive

Mobile, AL 36609

Case 1: 17- c-v- 00540- CG- C DoDc(uLmUeAn EtN1- 1 Filed 12/07/17 Page 11 of 108

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»»_ "-§5!' 02- CV- 2017- 902859. 00
CIRCUIT COURT OF

l MOBILE COUNTY, ALABAMA
lN THE PROBATE COURT OF MOBILE COUNTY, JOJO SCHWARZAUER, CLERK

|N THE MATTER OF CASE NO. 2017-0396

BERTHA M LAGRONE,

Deceased,
0RDER

Petition for Letters of Administration dated March ‘|0, 2017l of the above named decedent is
hereby GRANTED this date Surety Bond in the amount of $20,000.00 is hereby taken and approved
Letters of Administration shall issue forthwith to FRANK H. KRUSE, as prayed Letters of
Administration shall issue forthwith to FRANK H. KRUSE, General Administrator for lVlobi|e County, as
prayed

lt is further ORDERED that the Persona| Representative shall not deposit with legal counsel,
and legal counsel shall not receive, any funds or other assets of this estate which exceed the total
sum/value of $10,000 without prior approval of the Court. Any estate funds appropriately held by legal
counsel shall be placed in an interest account unless said funds are to be disbursed with forty-five (45)
days of receipt by legal counsel
The Personal Representative is ORDERED to report to the Court if any litigation involving a
wrongful death or personal injury claim is commenced in another court if same is reported, the
Persona| Representative shall file with this Court a petition to determine the heirs of the decedent
lt is further ORDERED as follows:
inventory due May 8, 2017, at 3:30 p.m.
Annual partial settlement and accounting due March 26, 2018

Dated this 20th day of March, 2017,

¢@<2@£

DON DAV|S, Judge of Probate

 

 

Case 1:17-cv-00540-CG-C quHNAgNlr-it Filed 12/07/17 Page 12 of 108

THE STATE OF ALABAMA COURT OF PROBATE

COUNTY OF MOBILE CASE NO. 2017-0396

LETTERS OF ADMiN|STRATiON
Letters of Administration of the Estate of BERTl-lA Ni LAGRONE, are hereby granted to FRANK

H. KRUSE, Genera| Administrator for Mobile County Probate Court, who has duly qualified and given
bond as such Personal Representative and is authorized to administer such estate in accordance with
the powers and duties set out pursuant to Ala. Code §43-2-830, et seq. (1975). The powers and duties
of said Personal Representative specinca|ly include, but are not limited to, gathering and retaining estate
assets, preparing an inventory of estate assets, paying taxes, fees, and expenses including court costs,

incident to the administration of the estate The authority of the Personal Representative is restricted

as follows:

 

 

 

 

Restrictions:

Personal Representative must immediately report to the Court the receipt of any monies or
assets which were not reported in the initial inventory and/or are received while these Letters

are in effect.

 

 

 

Ordered this 20th day of l\/larch, 2017.

DON DAVlS, Judge of Probate

 

CERT!F|ED COPY
DON DAV|S, JUDGE OF PROBATE
MOB|LE COUNTY,~ ALABAMA

By: ;__--1~*
JOE MCEARCHERN, JR., Chief C|erk

 

Case 1:17-cv-00540-CG-C Dq§,(iji@'lijen:t]\§tr-JF Filed 12/07/17 Page 13 of 108

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'»s.-._'..¢@a“ 02-Cv-2017-902859.00

ClRCUlT COURT oF
MoBiLE COUNTY, ALABAMA
JoJo sCHwARZAuER, CLERK

IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA

      

FRANK H. KRUSE, as Personal Representative of *
The Estate of Bertha 1\/1. LaGrone, deceased;

Plaintiff,

v Case No.
EIGHT MlLE NURSING AND
REHABILITATION CENTER, LLC d/b/a
NORTH MOBILE NURSING AND REHAB
CENTER; and SOUTHERN CARE
HOSPICE, INC, d/b/a SOUTHERN CARE
GREENVILLE., and fictitious defendants 1-3
whose identities are currently unknown,

 

JURY TRIAL DEMANDED

'i 'H' l 'I- -l- 'I- 'I- -I- 'I- 'I- -I- § -}t- §

*

Defendants

FIRST INTERROGATORIES TO DEFENDANT
EIGHT MILE NURSING AND REHABILIATION CENTER, L.L.C.,
d/b/a NORTH MOBILE NURSING AND REHAB

COMES NOW, Plaintiff, Frank H. Kruse, as Personal Representative of The Estate of
Bertha M. LaGrone, deceased by and through undersigned counsel, and propounds the following
Interrogatories to Defendant Eight l\/iile Nursing and Rehabilitation Center, LLC d/b/a North
1\/lobi1e Nursing and Rehab:

Definitions

1. "Plaintiff" or "Plaintiffs" as used herein refers to FRANK H. KRUSE, as
Personal Representative of the Estate of BERTHA 1\/1. LAGRONE, deceased and resident
defined below.

2. "The Resident" refers to BERTHA l\/l. LAGRONE.

_i "You," "Your" and "Yours" means the Defendants to whom this set of

Interrogatories is propounded However, if responsive documents, electronically stored

Case 1:17-cv-00540-CG-C Dq%igiMI\}LF-;t Filed 12/07/17 Page 14 of 108

information and emails normally kept and maintained by you are no longer in your possession,
constructive possession, custody or control but are now in the possession, constructive
possession, custody or control of any other Controlling Corporate Defendant, division, affiliate,
subsidiary, or other business entity or individual, "You," "Your" and "Yours" shall be defined to
include all such other business entity or individua|.

4 "The Nursing Home" and "The Facility" as used herein refers to Eight l\/ii|e
Nursing and Rehabilitation Center, LLC, located at 4525 St. Stephens Rd, Prichard AL 36613.

5 "Controlling Corporate Defendants" shall mean you, their central office,
headquarters, subsidiaries, merged or acquired predecessors, affiliates, successors, divested
facilities, divisions or subsidiaries, present and former officers, agents, employees, and all other
persons acting or purporting to act on behalf of Controlling Corporate Defendants.

6 "Document," "documents," and "documentation" shall be used in their broadest
sense and shall mean and include all written, printed or electronically stored information,
including emai|s, writings, drawings, graphs, charts, photographs, phono-records, electronically
transmitted communicative data, information stored on computer, or other data compilations
stored in any medium from which information can be obtained translated if necessary, by
you into reasonably usable form in accordance with Ala. R. Civ. P. 34. Such documents include
those that are in the possession, constructive possession, custody and control of the party upon
whom this request is served

7 "Control" of documents /electronically stored information includes both
possession and the legal right to obtain the documents/electronically stored information upon
demand See Ex Parte BASF Corp., 957 So.2d ll 04 (Ala. 2006).

8 "Electronically stored information" includes but is not limited to all information
stored managed or maintained on or by computers, or information transmitted in electronic
format by computer or other electronic device. This term specifically includes emails, facsimiles,
information stored in The Nursing Home's or Controlling Corporate Defendants' intranet or
internet system or website, information stored within a database or server, and information kept
on separate storage mediums, including but not limited to CD-ROMs, memory sticks and

portable hard drives.

Case 1:17-cv-00540-CG-C chgi@'lijejg:t]\;lT-;F Filed 12/07/17 Page 15 of 108

9 "Nursing Personnel" or "direct care giver" means all persons responsible for
giving nursing related care to residents at The Nursing Home. Such personnel includes
registered nurses, licensed practical nurses, aides, medication aides, nurse aides, certified nurse
aides, rehabilitative nurses, restorative aides, restorative nurse aides, medication aides and
orderlies, including relief or pool personnel.

10 "Nursing care" or "direct care" means any nursing related care that is: (a) required
by The Resident, as defined by the comprehensive resident assessment, comprehensive care plan
and physician orders and treatments; and (b) performed by any nursing personnel, including any
certified nurse aide at The Nursing Home.

1 1 "Non-Nursing Personnel" means all personnel who are not responsible for
providing direct nursing care to residents at The Nursing Home. Such personnel includes
administrative personnel (defined below), dietary, medical records, 'activity, social services,
housekeeping, laundry and maintenance personnel.

12 "Administrative Personnel" includes but is not limited to administrators, directors
of nursing, departmental heads, admissions coordinators and staff, MDS coordinators, Medicare
coordinators/nurses, care plan coordinators, marketing coordinators and staff and any billing and
acuity assessment coordinators/nurses at The Nursing Home.

13 "Therapy Staff`l means all persons responsible for providing therapy services at
The Nursing Home, including but not limited to physical therapists, occupational therapists,
speech therapists, speech language pathologists, therapy technicians and restorative aides.

14 "Nurse Aide" means an individual providing nursing or nursing-related services to
residents of The Nursing Home under the supervision ofa licensed nurse.

15 "ldentify" means supply the name,job title (e.g., nurse aide, medication aide, RN,
LPN, or any other position held), address and telephone number.

16 "Communication," "correspondence," and "communication/correspondence" refer
to emails, facsimiles, letters, memos, notes and any other verbal communications reduced to
written and/or electronic form.

17 "Acuity of Resident" means the amount or level of everyday care required to meet
the minimum needs ofa resident. Among other things, this takes into consideration the resident's
communication and cognitive skills, mood and behavior patterns, physical functioning and

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Case 1:17-cv-00540-CG-C Do[cggiljejn£t]\§LF-;t Filed 12/07/17 Page 16 of 108

structural problems, continence, disease diagnoses, health conditions, oral/nutritional status, skin
condition, activity pursuit patterns, medications, special treatments and procedures, and

discharge potential.
INSTRUCTIONS

1 The following written interrogatories are propounded to Defendants and are to be
answered in accordance with the ALABAMA RULES OF CIVIL PROCEDURE

2 The following interrogatories are to be answered separately and fully, by
furnishing all information in your possession, custody or control, including all information to
which you have the authority to compel from a third party, including any Controlling Corporate
Defendant.

3 For each interrogatory and subpart of each interrogatory, if the information
furnished in your answer is not within your personal knowledge, identify each person to whom
the information is a matter of personal knowledge, if known.

4 The definitions set forth above are incorporated into these interrogatories
Plaintiff relies on these definitions to clarify the language contained herein.

5 If you object to any particular interrogatory or part of an interrogatory, answer all
portions ofthe interrogatory or other interrogatories to which no objection is made.

6 Ifthe space provided is not adequate to fully answer any interrogatory, please use
additional pages for your responses

7 in the event you sold or transferred ownership of The Nursing Home to any
person or entity at any time during The Resident's stay at The Nursing Home, you are requested
to provide information in response to these requests for the time frame The Nursing Home was
under your operation and control while The Resident resided at The Nursing Home, unless
otherwise specified

8 In accordance with the ALABAMA RULES OF CIVIL PROCEDURE, you have
a duty to amend or supplement your discovery responses when you learn that your responses are
incomplete or incorrect when made, or, although complete and correct when made, is no longer

complete and correct.

Case 1:17-cv-00540-CG-C Dq§@@gerg,\;iq-g, Filed 12/07/17 Page 17 of 108

9 ln accordance with the ALABAMA RULES OF CIVlL PROCEDURE, you are to
amend or supplement your responses reasonably promptly after discovering the necessity for an

amended or supplemental response

INTERROGATORIES

1. During the time frame The Resident lived at The Nursing Home, identify every
business entity or individual(s) who had an ownership interest in The Nursing Home, was
responsible for managing the Nursing Home or who had the ability, acting alone or in concert
with others, to directly or indirectly, infiuence, direct, or cause the direction of the operation,

management, expenditure of money, or policies of The Nursing Home.

This interrogatory seeks and includes, but is not limited to, the identity of the following:
1) any management company having responsibilities for any part of The Nursing Home
operations; 2) any individual or business entity which operated The Nursing Home or was under
contract with Controlling Corporate Defendants to perform any- part of The Nursing Home
operations; 3) any individual or business entity that because of its relationship with The Nursing
Home or its owner was in a position of actual control of The Nursing Home; 4) any individual or
business entity because of its relationship to The Nursing Home or its owner participated in the
creation, implementation or review of The Nursing Home's budget (annual or otherwise); and/or,
5) any individual or business entity which entered into a Corporate lntegrity Agreement, the
terms of which applied to The Nursing Home,
RESPONSE:

2 Identify (by stating the name, address, telephone number, date of birth and period
of employment) each person in the chain of command above your Administrator who directed
supervised or was primarily responsible for monitoring the performance of said Administrator
during the time frame The Resident lived at The Nursing Home.

RESPONSE:

Case 1:17-cv-00540-CG-C Dq§(g@njerg?\;iq-J, Filed 12/07/17 Page 18 of 108

3. ldentify (by stating the name, address, telephone number, date of birth and period
of employment) all health care providers or workers who was a direct care giver to the Resident

since January 1, 2015.

RESPONSE:

4. Do you contend that any nursing personnel provided direct care to The Resident
whose names, signatures and/or initials do not appear in The Resident's medical record for the
day and shift such care was provided? 1f yes, identify any such person who performed such care
and identify all dates when the same occurred

RESPONSE:

5. As to any nursing personnel (nurses, nurse aides, restorative aides, medication
aides and/or orderlies) who rendered care to The Resident at any time, identify each such person
who is still employed at The Nursing Home.

RESPONSE:

6. Identify (by providing their full name, date of birth, last known address, phone
number and stating whether or not the individual is an employee of The Nursing Home or any
Controlling Corporate Defendant, an independent contractor or a consultant) all other health care
providers who actually provided care to The Resident at The Nursing Home. This asks for the
identity of all physician's assistants, nurse consultants, wound care specialists, dietary
consultants, physical therapists, speech therapists and/or occupational therapists,

RESPONSE:

7. State the name, addresses and phone numbers of each person who has any
knowledge of any acts relevant to this lawsuit or has any knowledge of any discoverable matter
to this lawsuit, and as to each such person, set forth completely and in detail the knowledge of
each

RESPONSE:

Case 1:17-cv-00540-CG-C Dq§ggiMI\H-JF Filed 12/07/17 Page 19 of 108

8. Do you contend that The Resident or The Resident's family contributed to The
Resident's declining medical condition or hindered your ability to provide nursing care? lf yes,
state the factual basis to support your contention and identify every date you claim such conduct
occurred INSTRUCTION: This includes any allegation or claim that The Resident refused
Treatments, food or medications. l\/loreover, this includes any allegation that The Resident's

family refused treatment, etc., or objected to transfers

RESPONSE:

9. if you notified any physician or healthcare provider about any signiHcant change
in The Resident's condition while in The Nursing Home and said notification is not specifically
documented in your medical records, identify each such notification by stating the date, time,
person who made the communication the physician or healthcare provider who received it, and
the substance of such communication INSTRUCTION: For the purposes ofthis interrogatory, a
significant change means any sign or symptom indicating deterioration or improvement of The
Resident's physical, mental, psychological or social condition

RESPONSE:

10. State the actual PPD (per patient day) staffing levels for nursing personnel at The
Nursing Home during the calendar years 2015 and 2016. This request seeks the actual daily and
monthly PPD (per patient day) staffing levels at The Nursing Home for nursing personnel.
RESPONSE:

1 1. State the relationship between you and every business entity and individual and
further state: 1) all management contracts you have and with whom; 2, ownership of real
property and personal property; 3. Your balance sheets for the year at issue; 4. All of your bank
accounts for three years before the plaintiff died; 5. The members of your organizations and their
percent interest in these entities; 6. Payments, benefits tax returns, W-9's, 1099'3 of your
employees and operating agreements; 7. All of each shareholder’s, members, officer`s,

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Case 1:17-cv-00540-CG-C Dq§(i)i§njej‘EtNJI-} Filed 12/07/17 Page 20 of 108

director’s bank accounts for three years before the plaintiff died; 8. Your LLC, articles of
incorporation by-laws, minutes of meetings and tax returns including K-l's, for three years
before the plaintiff died; 9, Your workers’ compensation insurer and payments for the year
plaintiff died; 10. Ownership and affiliations with other nursing homes and the owners of those
nursing homes; 11. Agreements between co-defendants; 12. Standards, policies and procedures
proposed approved implemented created etc. by you; 13. Performance of bookkeeping,
accounting, payroll, ledgering, establishing salary levels personnel policies and employee
benefits as well as employee performance standards as needed to ensure the efficient operation of
all departments within and services offered by each of you; 14. Preparing and approving the
annual operating budget; 15. The proposing, creation implementation and approval of
advertising and publicity material; 16, l\/ledicare, l\/ledicaid, Tri-Care, Champus, cost reporting
and rate setting services; 17. Assistance in the maintaining of licensing and qualifications for all
licensing authorities 18. The purchase of supplies and equipment (obtaining, approval,
purchasing, selection); 19. Arranging and maintaining all insurance for you; 20. Preparing and
providing all reasonable operational information which may, from time to time, be specifically
requested by any affiliated entity or person; 21. Coordinating all legal matters and proceedings
with counsel and any affiliated entity or person; 22. l\/laintaining checking accounts cosigners
payment of all expenses incurred in the operation of facility at issue and from which withdrawals
and payments made on checks signed by a person or persons designated by any affiliated entity
or person; 23. Payment of utilities; 24. Payments of insurance; 25. Your capital stock; 26. Your
lines of credit; 27. Your assets and liabilities P&L’s, investments capital improvements
personal guarantees capital contributions and expenses; 27. Your right to select those who
rendered care to plaintiff. 28. Your right to supervise, train and instruct those who rendered care

to plaintiff; 29. Your right to discipline, hire, fire those who rendered care to plaintiff

RESPONSE:

Case 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 21 of 108

[)()CUMENT 4

12. Pursuant to Ala. R. Civ. P. 26(b)(3), please identify every witness you have interviewed
and every witness statement you have taken or received in this case by stating the name of the witness
and the date the interview or statement was taken

RESPONSE:

13. Please identify by name, position and provide a telephone number and/or address for all
employees who have been terminated since April 2016 who were involved in the care and treatment of
l\/ls. LaGrone.

RESPONSE:

14. Did you have the right to select the wound care provider for l\/ls. LaGrone? lfso, did you

select Southern Care Hospice, lnc.?

RESPONSE:
Respectfully submitted: November 1, 2017

ATTORNEYS FOR PLAINTIFF, FRANK H. KRUSE, as
Personal Representative of The Estate of Bertha M. LaGrone,

/s/ Mark E. Sp€ar

MARK E. SPEAR (SPE012)

G. RANDALL SPEAR (SPE016)
Spear, Spear & Hamby, P.C.

Post Office BoX 1347

Mobile, AL 36633

(251) 344-8181

mes[crisshla wgc.r:nrn

Pennission Given By:
/s/ James l Daz'lev
JAMES J. DAILEY (DA1005)
1206 Dauphin Street
Mobile, AL 36604
(251) 441-9946

j dailey63(azhotmail.corn

**PLEASE SERVE THE FOREGO|NG W|TH THE COMPLA|NT**
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ClRCUlT COURT or
MoBrLE COUNTY, ALABAMA
vbcIN THE CIRCUIT COURT OF MOBILE COUl‘ JoJo sCHWARZAuER, CLERK

 

FRANK H. KRUSE, as Personal Representative of *
The Estate of Bertha l\/‘l. LaGrone, deceased;

Plaintiff,

v Case No.
EIGHT l\/llLE NURSING AND
REHABILITATION CENTER, LLC d/b/a
NORTH MOBILE NURSING AND REHAB
CENTER; and SOUTHERN CARE
HOSPlCE, INC, d/b/a SOUTHERN CARE
GREENVILLE., and fictitious defendants 1-3
whose identities are currently unknown

 

JURY TRlAL DEMANDED

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Defendants

FIRST REQUESTS FOR PRODUCTION TO DEFENDANT
EIGHT MILE NURSING AND REHABILIATION CENTER, L.L.C.,
d/b/a NORTH MOBILE NURSING AND REHAB

COMES NOW, Plaintiff, Frank H. Kruse, as Personal Representative ofThe Estate of Bertha 1\/1.
LaGrone, deceased by and through undersigned counsel, and propounds the following First Requests !
For Production to Defendant Eight l\/lile Nursing and Rehabilitation Center, LLC d/b/a North Mobile
Nursing and Rehab:
GENERAL INSTRUCTIONS

l. Data compilations information recorded or microfilmed, microfiche, tapes discs or other ,
data recorded or stored in electronic or magnetic form should be produced on jump drives or CD-ROl\/l
discs

2. Documents and other tangible things produced in response to these requests should be
organized and labeled to correspond with each request.

3. if any request set forth below "overlaps" another request so as to call for the same
documents electronically stored information or tangible things it shall be sufficient response to state
under the "overlapping request" that the identical items have been produced under another request, l
which should be specifically identified Thus, where a document, electronically stored information or

tangible thing has been produced under a request, identical copies of the same document, electronically

Case 1:17-cv-00540-CG-C DonomemMI-i Filed 12/07/17 Page 23 of 108

stored information or thing need not be produced again unless it contains different markings additions
or deletions or its content, form or makeup is distinguishable in any manner.

4. ln order to assure that each item or thing requested is described with reasonable
particularity, clarifying information is included under certain requests herein below set forth.
In such case, the additional information either summarizes the request or more specifically describes the

documents electronically stored information or things sought.

5. In the event you sold or transferred ownership of The Nursing Home to any person or
entity at any time during The Resident's stay at The Nursing Home, you are requested to provide
information in response to these requests for the time frame The Nursing Home was under your

operation and control while The Resident resided at The Nursing Home, unless otherwise specified

DEFINITIONS
The following definitions apply to the requests for production contained herein

1. "Plaintiff" or "Plaintiffs" as used herein refers to Frank H. Kruse, as the Personal
Representative of the Estate of Bertha M. LaGrone, Deceased.

2. "The Resident" refers to Bertha l\/l. LaGrone.

3. "You," l'Your" and "Yours" means the Defendant to whom this Request for Production is
propounded However, if responsive documents electronically stored information and emails normally
kept and maintained by you are no longer in your possession, constructive possession, custody or control
but are now in the possession, constructive possession custody or control of any other Controlling
Corporate Defendant, "You," "Your" and "Yours" shall be defined to include all such other Controlling
Corporate Defendants

4. "The Nursing Home" and "The Facility" as used herein refers to Defendant Eight l\/iile
Nursing and Rehabilitation Center, LLC, at the location of 4525 St. Stephens Rd, Prichard Alabama
36613..

5. "Controlling Corporate Defendants" shall mean Eight l\/lile Nursing and
Rehabilitation Center, LLC d/b/a North Mobile Nursing and Rehab, their central office, headquarters
subsidiaries merged or acquired predecessors affiliates successors divested facilities divisions or
subsidiaries present and former officers agents employees and all other persons acting or purporting to
act on behalf of Controlling Corporate Defendants

6. "Document," "documents," and "documentation" shall be used in their broadest

sense and shall mean and include all written, printed or electronically stored information including

CaS€ 1217-CV-00540-CG-C DOlCOGllHMHN]I-i Filed 12/07/17 Page 24 Of 108

emails writings drawings graphs charts photographs phono-records electronically transmitted
communicative data, information stored on computer, or other data compilations stored in any medium
from which information can be obtained translated if necessary" by you into reasonably usable form in
accordance with Ala. R. Civ. P. 34. Such documents include those that are in the possession,
constructive possession, custody and control ofthe party upon whom this request is served

7. "Control" of documents/electronically stored information includes both possession and
the legal right to obtain the documents/electronically stored information upon demand See Ex Parte
BASF Corp., 957 So.2d 11 04 (Ala. 2006).

8. "Electronically stored information" includes but is not limited to all information stored
managed or maintained on or by computers or information transmitted in electronic format by computer
or other electronic device. This term specifically includes emails facsimiles, information stored in The
Nursing Home's or Controlling Corporate Defendants' intranet or internet system or website, information
stored within a database or server, and information kept on separate storage mediums, including but not
limited to CD-ROMs memory sticks and portable hard drives

9. "Nursing Personnel" or "direct care giver" means all persons responsible for giving
nursing related care to residents at The Nursing Home, Such personnel includes registered nurses
licensed practical nurses aides medication aides nurse aides certified nurse aides rehabilitative nurses,
restorative aides restorative nurse aides medication aides and orderlies including relief or pool
personnel.

10. "Nursing care" or "direct care" means any nursing related care that is: (a) required by The
Resident, as defined by the comprehensive resident assessment, comprehensive care plan and physician
orders and treatments and (b) performed by any nursing personnel, including any certified nurse aide at
The Nursing Home,

11. "Non-Nursing Personnel" means all personnel who are not responsible for providing
direct nursing care to residents at The Nursing Home; such personnel includes administrative personnel
(defined below), dietary, medical records activity, social services housekeeping, laundry and
maintenance personnel.

12. "Administrative Personnel" includes but is not limited to administrators directors of
nursing, departmental heads admissions coordinators and staff, MDS coordinators l\/ledicare
coordinators/nurses, care plan coordinators marketing coordinators and staff and any billing and acuity
assessment coordinators/nurses at The Nursing Home.

13. "Therapy Staff means all persons responsible for providing therapy services at The
Nursing Home, including but not limited to physical therapists occupational therapists speech

therapists, speech language pathologists therapy technicians and restorative aides

Case 1:17-cv-00540-CG-C Dononu)e/nntlr-i Filed 12/07/17 Page 25 of 108

14. "Nurse Aide" means an individual providing nursing or nursing-related services to

residents ofThe Nursing Home under the supervision ofa licensed nurse.

15. "ldentify" means supply the name, job title (e.g., nurse aide, medication aide, RN, LPN,
or any other position held), address and telephone number.

16. "Communication," "correspondence," and "communication/correspondence" refer to
emails facsimiles letters memos, notes and any other verbal communications reduced to
written and/or electronic form.

17. "Acuity of Resident" means the amount or level of everyday care required to meet the
minimum needs of a resident. Among other things this takes into consideration the resident's
communication and cognitive skills mood and behavior patterns physical functioning and structural
problems continence, disease diagnoses health conditions oral/nutritional status skin condition

activity pursuit patterns medications special treatments and procedures, and discharge potential.

REQUESTS FOR PRODUCTION

You are hereby requested to produce the following documents and electronically stored

information in your possession, constructive possession custody or control:

1. PHOTOGRAPHS AND VIDEOS OF THE RESIDENT: True, correct and complete
copies ofall photographs or videos ofThe Resident, including but not limited to:
a. photographs or videos of The Resident's face; and
b. photographs or videos documenting The Resident's condition; and

c. photographs of The Resident's bedsore(s); and

c. photographs or videos ofThe Resident while involved in any activity or receiving
any care.
RESPONSE:
2. MEDICAL RECORDS: True, correct and complete color copies of all medical records

clinical records charts and documents/electronically stored information pertaining to The Resident,
including but not limited to any ofthe following:
a. BUSINESS RECORDS: All medical records clinical records charts and
documents/electronically stored information pertaining to The Resident which: 1) were
created and compiled by The Nursing Home in the normal course of business and 2)

constitute business records as defined in Rule 803( 6) ofthe Alabama Rules of Evidence.

1.1.

Case 1:17-cv-00540-CG-C Donoinnein§rr\iir-i Filed 12/07/17 Page 26 of 108

ADL RECORDS: All records containing charting pertaining to The Resident used

by nurse aides or which include documentation ofThe Resident's activities ofdaily

living, personal care and all other care rendered by nurse aides to The Resident.

REGULATORY RECORDS: All documents/electronically stored information

pertaining to The Resident which are required to be created and maintained by The

Nursing Home in accordance with Ala Admin Code Chapter 420-5-10-.03(36).

l\/IEDICAL RECORDS NOT KEPT IN CHART: lf not included in response to The

Resident, whether or not such record is normally maintained as part ofthe "nursing home

chart," created by nursing or non-nursing personnel at The Nursing Home, which

evidence that: (a) The Resident was provided any type or kind of care or treatment while

a resident ofThe Nursing Home; (b) specific actions steps or measures had been planned

or implemented for The Resident; (c) nursing interventions had been accomplished for

The Resident; or (d) there had been a change in The Resident's condition

lNCIDENT REPORTS: All incident/accident reports unusual occurrence reports

or variance reports including all electronically stored information emails

correspondence, memoranda and documentation created or sent by anyone connected

with The Nursing Home or Controlling Corporate Defendants about such incident,

accident or event.

COl\/IPLAINT/lNCIDENT INVESTIGATIONS: All complaint or incident investigations

undertaken by The Nursing Horne or Controlling Corporate Defendants prior to receiving

formal notice ofthis lawsuit which in any way relate to The Resident, including all

electronically stored information e-mails, correspondence, memoranda and

documentation created by anyone connected to The Nursing Horne or by Controlling

Corporate Defendants.

lNJURY AND ADEQUACY OF CARE REPORTS: All documents/ electronically stored

information gathered in the ordinary course of business by The Nursing Horne or at The

Nursing Home's request, prior to receiving formal notice ofthis lawsuit, which evaluates

or discusses any ofthe following matters

1. relevant facts about any clinical condition injury or problem developed by The
Resident while a resident ofThe Nursing Horne;

2. the cause of any clinical condition or injury present in The Resident when discharged
from The Nursing Horne;

3. the preventability of any clinical condition developed by The Resident at The Nursing

Horne; or

Case 1:17-cv-00540-CG-C Dorcumeintr\nr-i Filed 12/07/17 Page 27 of 108

l_'ll.

instruction:

4. the adequacy or inadequacy of care provided The Resident.

PROBLEl\/l REPORTS: All problem-oriented reports about The Resident.

CARE PLANS: All documents/electronically stored information relating to any plan of
care for The Resident, including but not limited to all health care plans nursing care
plans patient care plans medical care plans and nutritional plans

THERAPY RECORDS: All physical therapy, occupational therapy, speech therapy or
rehabilitative records pertaining to The Resident.

l\/lD NOTIFICATIONS: All documents/electronically stored information including
emails and faxes which notify a physician or member ofthe physician staffabout The
Resident's condition a change in The Resident's condition a need for an order, the status
of any ordered treatment, the lack of progress of any ordered treatment and any
complaints or concerns about inadequate care ofThe Resident, including any kind of
writing or memorandum which memorializes any notification provided by The Nursing
Home to any physician for The Resident.

ACUITY EVALUATIONS: All "l\/ledical-Nursing Care Evaluations" pertaining to
The Resident, or any other form submitted by The Nursing Home to any governmental
agency documenting the health care needs of The Resident.

LEVEL OF CARE DETERMINATIONS: All documents/electronically stored
information which pertain to the level of care determination made regarding The
Resident.

CONSULTANT RECORDS: All documents/electronically stored information
pertaining to The Resident created by any consultant for The Nursing Home, including
but not limited to: (1) dietary consultant reports; (2) pharmaceutical consultant reports
and (3) nursing consultant reports

24-HOUR REPORTS: All twenty-four hour reports shift change reports and all
electronically stored information documents faxes and emails regarding such reports

which in any way refer to or concern The Resident.

Please redact the names of any other residents (but not the name of The Resident) referenced in the

assessments to protect their privacy.

p.

CHANGE IN CONDITION ASSESSMENTS: All assessments pertaining to The
Resident, including those transmitted by email, which reference The Resident or

document any condition or change in The Resident's condition including all

CaS€ 1217-CV-00540-CG-C DQ§`¢©@U)®/liiir\£lr-§. Filed 12/07/17 Page 28 Of 108

Instruction:

electronically stored information e-mails documentation and faxes about such change in

condition assessmentl

Please redact the names of any other residents (but not the name of The Resident) referenced in the

assessments to protect their privacy.

Instruction:

CHANGE lN CONDITION REPORTS: All change in condition reports pertaining to
The Resident including all documents emails electronically stored/transmitted
information and faxes created for the purpose of communicating to another a significant
change in the condition of The Resident or any care-related problem/issue pertaining to

The Resident.

Please redact the names of any other residents (but not the name of The Resident) referenced in the

assessments to protect their privacy.

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RESPONSE:

MASTER SIGNATURE LEGENDS: All master signature legends which identify

the signatures and corresponding initials for all direct care givers at The Nursing Home
created or used during The Resident's stay.

CONTROLLED SUBSTANCE RECORDS: All controlled substances records as such
term is used in Ala Admin Code Chapter 420-5-10-. 16 for The Resident.

El\/IAILS AND COMMUNICATIONS REGARDING THE RESIDENT: All emails
reports documents facsimiles or other correspondence pertaining to The Resident's
clinical condition treatment or care, including any complaints/concerns about The
Resident's care, treatment or clinical condition sent or received by: l) The Nursing
Home's administrative personnel, nursing personnel and/or therapy staff; 2) dietary
consultant for The Nursing Home; 3) pharmaceutical consultant for The Nursing Home;
4) regional/corporate nurse for Controlling Corporate Defendants; 5) Controlling
Corporate Defendants' regional/corporate vice president; and 6) corporate compliance
department

OTHER: All other records documents and electronically stored information (including
but not limited to hospital, medical, or facility records including call light records) in
The Nursing Home's possession or control pertaining to the clinical condition treal ment

or care of The Resident, irrespective ofthe source or author of such documentation

Case 1:17-cv-00540-CG-C Donomn)ernr\Hr-i Filed 12/07/17 Page 29 of 108

3. FINANCIAL FlLE: True, correct and complete copies ofThe Resident's entire Financial
File, including but not limited to all l\/iedicare and Medicaid billing records for The Resident and all the
billing records reimbursement records and supporting documents

RESPONSE:

4. ADMISSION FILE: True, correct and complete copies of The Resident's entire
Admission File.

RESPONSE:

5. HANDBOOKS, BROCHURES AND LITERATURE: True, correct and complete copies
of all handbooks brochures and other literature given to The Resident and/or the family of The
Resident.

RESPONSE:

6. INFORMATIONAL VlDEOS: True, correct and complete copies of all videos shown to
The Resident and/or the family ofThe Resident. '
RESPONSE:

7. PERSONNEL FILES: True, correct and complete copies ofthe entire personnel file,
including documents/electronically stored information for: 1) all administrative personnel who worked
at The Nursing Home and provided direct nursing care to The Resident during the calendar years 2015
and 2016; and 2) all nursing personnel who provided care to The Resident during the last year of The
Resident’s residency at The Nursing Home, which were created and compiled by The Nursing Home in
the normal course of business and constitute business records as defined in Rule 803(6) ofthe Alabama
Rules of Evidence:

RESPONSE:

8. All documents/electronically stored information containing policies procedures manuals
or guidelines in effect during The Resident's stay at The Nursing Home which are relevant to the care or
treatment rendered to The Resident at The Nursing Home or which governed established or set forth
the expected standard of care for residents and standard of conduct for employees working at The

Nursing Home during The Resident's stay which: 1) were created and compiled by The Nursing Home

CaS€ 1217-CV-00540-CG-C DO§?(D|©U)®{]§IN]I-§. Flled 12/07/17 Page 30 Of 108

and/or Controlling Corporate Defendants in the normal course of business and 2) constitute business

records as defined in Rule 803(6) ofthe Alabama Rules of Evidence, including but not limited to all of

the following:

ifi.

RESIDENT CARE POLICIES: All Resident Care Policies Procedures and
l\/ianuals in effect at The Nursing Home during the last year ofThe Resident's

stay.
POLICIES REGARDING THE RESIDENT'S PROBLEMS: All procedures, policies
manuals forms and guidelines regarding any clinical condition ofThe Resident or
care/treatment required by The Resident in effect at The Nursing Home during the last
year ofThe Resident's stay, including but not limited to the following:
1. Pressure sore prevention treatment and care;

. Wound care;

. Alzheimer's/dementia;

. Diabetes;

. Coronary artery disease and/or congestive heart failure;

2
3
4
5
6. Weight loss prevention treatment and care;
7. l\/lalnutrition prevention treatment and care;
8. Dehydration prevention treatment and care;
9. lnfection prevention treatment and care; and

10. Restorative care and rehabilitative care.

POLlClES DEVELGPED lN RESPONSE TO THE RESIDENT'S PROBLEMS: All
procedures policies and guidelines developed in response to any condition or care related
problem developed by The Resident in The Nursing Home.
ADMINISTRATIVE/OPERATIONAL POLICIES: The entire Administrative and/or
Operational Policy and Procedural Manual in effect at The Nursing Home during the last
year of The Resident's stay.

PERSONNEL POLICIES: All Personnel/Human Resource Policies, Procedures or
lvlanuals in effect at The Nursing Home during the last year ofThe Resident's stay.
RECRUITMENT, ADl\/llSSlONS AND CENSUS POl,lCIES: All employee and/or
resident recruitment, retention admissions sales or census development policies

procedures or manuals in effect at The Nursing Horne during the last year ofThe

Resident's stay.

Case 1:17-cv-00540-CG-C Donoirnierrt\tir-s Filed 12/07/17 Page 31 of 108

g. l\/lANAGEl\/lENT PRACTICE GUIDELINES: A complete copy ofthe l\/lanagement
Practice Guidelines in effect at The Nursing Home during the resident's stay at The

Nursing Home,

h. QUALlTY ASSURANCE MANUALS: All written guidelines policies manuals and
procedures regarding the establishment, methodology, implementation and operation of
any quality assurance program, study or evaluation including all forms to be completed
or utilized in effect at The Nursing Home during the last year ofThe Resident's stay.

i. DRUG DESTRUCTION POLICIES: All policies and procedures ofThe Nursing Home
relating to the destruction or disposal of drugs and narcotics in effect at The Nursing
Home during the last year ofThe Resident's stay.

j. JOB EVALUATION POLICIES AND PROCEDURES: All written guidelines forms or
procedures in effect at The Nursing Home during the last year of The Resident's stay for
evaluating thejob performance ofthe director of nursing, administrator or nursing
personnel at The Nursing Home.

9. ROSTER OF GOVERNING AUTHORITY MEMBERS: True, correct, complete and

legible copies of all Rosters of Governing Authority l\/lembers and/or documents/electronically stored
information which are required to be maintained in The Nursing Home as required by Ala. Admin. Code

Chapter 420-5-10-.03(7) pertaining to The Resident's entire stay at The Nursing Home.
RESPONSE:

10. CHAIN OF COl\/ll\/lAND: True, correct, complete and legible copies of any
documents/electronically stored information or charts applicable to the resident's stay showing the
hierarchy and/or chain of command within and between the nursing home and any controlling corporate

defendant

Clarifying Instruction:
For the purposes ofthis request, documents or charts showing hierarchy and chain of command means
any kind of document, including but not limited to a flow chart which identifies by name, position rank

and job title as many ofthe following person(s) as possible applicable to the resident's stay:

a. Presidents of any named defendant;
b. Directors and officers of any named defendant;

c. Heads of operations for any named defendant;

Case 1:17-cv-00540-CG-C Donoicnienzir\tir-i Filed 12/07/17 Page 32 of 108

I_l.

RESPONSE:

ll.

Operations officers managers department heads or individuals holding regional,

district, area or any leadership positions in any subpart of operations structure containing

The Nursing Home, including but not limited to, area managers regional managers

district directors regional nurses, clinical directors head oftotal quality management,

financial manager, human resource director or manager, managers of marketing, or any

marketing director;

Operations officer, manager, department head or individual who held any regional,

district, or area leadership or management position within that portion ofthe operations

structure which includes The Nursing Home;

Persons employed by the nursing home and any controlling corporate defendant who

were responsible for approving, monitoring, and reviewing the budget for The Nursing

Home and The Nursing Home's financial performance;

Persons employed by any named defendant, whosejob description included

supervising, monitoring, reviewing operations performance or compliance with

policies and procedures, or consulting with the administrator, director of nurses head

ofdietary services or any departmental head ofThe Nursing Horne;

lndividuals employed by any named defendant who were in any respect responsible for

monitoring, performing, or reviewing any ofthe following functions at The Nursing

Home:

1. Compliance with the Alabama Department of Public Health licensure and
certification requirements for nursing facilities;

2. Compliance with administrative policies and procedures ofthe nursing home and
any controlling corporate defendant;

3. Compliance with Standard l\/lanagement Practices (Sl\/lP) ofthe nursing home and
any controlling corporate defendant;

4. Total Quality l\/lanagement (TQl\/l);

5. Uniform and Comprehensive Quality Assurance Program; and

6. Corporate compliance program.

MANAGEMENT CONTRACTS/AGREEMENTS: True, correct and complete copies of

all management contracts or agreements between the nursing home and controlling corporate defendants

and any other person or entity that were in force and effect during the resident's stay and are applicable

to The Nursing Home,

Case 1:17-cv-00540-CG-C Donnrrrrerrtr\tlr-SL Filed 12/07/17 Page 33 of 108

RESPONSE:

12.

WITNESS STATEl\/IENTS: True, correct and complete copies of all statements

including documents/electronically stored information and correspondence, of any person with

knowledge of relevant facts - a "witness statement" - regardless of when the statement was made,

including but not limited to witness statements obtained prior to lawsuit, resident and family statements

audio and videotapes of any statements

RESPONSE:

13.

INSURANCE AGREEMENTS AND POLICIES: All insurance agreements and policies

which afford coverage to you or your agents employees or officers for any conduct alleged against you

and your nursing home in Plaintiffs Complaint including any of the following more particularly

described policies

a.

RESPONSE:

14.

All insurance agreements and/or policies in their entirety which afford protection to
you for the acts and omissions set forth by Plaintiffs in their original petition in the
above entitled and numbered cause including, but not limited to, primary, umbrella
and excess policies which may obligate any respective insurance company to satisfy
part or all ofajudgment which may be rendered in this action against the Defendant.
All insurance agreements and/or policies in their entirety including, but not limited to,
primary, umbrella and excess policies which may obligate any respective insurance
company to satisfy part or all ofajudgment which may be rendered in an action
against either the administrator ofthe facility as a consequence of any act or omission
by said administrator, member of governing body, or staff member.

All insurance agreements and/or policies in their entirety which pertain to any
management company engaged by you to operate the facility including, but not limited
to, primary, umbrella and excess policies which may obligate any respective insurance
company to satisfy part or all ofajudgment which may be rendered in an action

against the said management company arising out of its acts or omissions

Any and all communications to any healthcare provider or state agency regarding l\/ls

Bertha LaGrone.

RESPONSE:

Case 1:17-cv-00540-CG-C Dorcoione/nNr-i Filed 12/07/17 Page 34 of 108

15. Any and all manuals in your possession care or control regarding decubitus ulcers
RESPONSE:
16. Any and all documents including deeds or leases reflecting your authority to occupy the

premises located at 4525 St. Stephens Rd., Prichard, Alabama 36613.

RESPONSE:

17. Any and all documents notes memos, records correspondence of any type or format

relating to this case received from or sent to and agency ofthe State ofAlabama.

RESPONSE:

Respectfully submitted: November l, 2017

Perrnission Given By:

ATTORNEYS FOR PLAINTIFF, FRANK H. KRUSE, as
Personal Representative of The Estate of Bertha M. LaGrone,

/s/ Mark E. Spear

MARK E. SPEAR (SPE012)

G. RANDALL SPEAR (SPE016)
Spear, Spear & Harnby, P.C.

Post Office Box 1347

Mobile, AL 36633

(251) 344-8181

mesrri.'ssh|g mg;.g.grn

/s/ James l Daz'f@

JAMES J. DAILEY (DAIOOS)
1206 Dauphin Street

Mobile, AL 36604

(251) 441-9946

jdailey63(azhotmail.€orn

PLEASE SERVE THE FOREGOING WITH THE COMPLAINT

Case 1:17-cv-00540-CG-C Dootuotve/n;-Mr-a Filed 12/07/17 Page 35 of 108

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ManE couNTY, ALABAMA

IN THE ClRCUlT COURT OF MOBILE COUNT 1010 SCHWARZAUER, CLERK

FRANK H. KRUSE, as Personal Representative of *
The Estate of Bertha l\/l. LaGrone, deceased;

Plaintiff,

v Case No.
ElGHT MlLE NURSING AND
REHABlLITATION CENTER, LLC d/b/a
NORTH MOBILE NURSING AND REHAB
CENTER; and SOUTHERN CARE
HOSPICE, lNC, d/b/a SOUTHERN CARE
GREENVILLE., and fictitious defendants 1-3
whose identities are currently unknown

 

JURY TRIAL DEMANDED

**I-'l-*****'I-'I-'I-'I-'I-

'k-

Defendants.

FIRST INTERROGATORIES TO DEFENDANT
SOUTHERN CARE HOSPICE, INC. d/b/a SOUTHERN CARE GREENVILLE

COMES NOW, Plaintiff, Frank H. Kruse, as Personal Representative of The Estate of Bertha l\/i.
LaGrone, deceased by and through undersigned counsel, and propounds the following lnterrogatories to
Defendant Southern Care Hospice, lnc., d/b/a Southern Care Greenville:

Deiinitions

l. "Plaintiff" or "Plaintiffs" as used herein refers to FRANK H. KRUSE, as Persona|
Representative ofthe Estate of BERTHA l\/l. LAGRONE, deceased and resident defined below.

2. "The Resident" refers to BERTHA l\/l. LAGRGNE.

3 "You," "Your" and "Yours" means the Defendants to whom this set of interrogatories is
propounded However, if responsive documents electronically stored information and emails normally
kept and maintained by you are no longer in your possession, constructive possession, custody or control
but are now in the possession constructive possession custody or control of any other Controlling
Corporate Defendant, division affiliate, subsidiary, or other business entity or individual, "You," "Your"
and "Yours" shall be defined to include all such other business entity or individual.

4 "The Nursing Home" and "The Facility" as used herein refers to Eight l\/lile Nursing and
Rehabilitation Center, LLC, located at 4525 St. Stephens Rd., Prichard, AL 36613.

 

CaS€ 1217-CV-00540-CG-C DOEQI©DM‘EN_F-G_ Filed 12/07/17 Page 36 Of 108

5 "Controlling Corporate Defendants" shall mean you, their central office, headquarters
subsidiaries merged or acquired predecessors affiliates successors divested facilities divisions or
subsidiaries present and former officers agents employees and all other
persons acting or purporting to act on behalf of Controlling Corporate Defendants

6 "Document," "documents," and "documentation" shall be used in their broadest sense and
shall mean and include all written, printed or electronically stored information including emails
writings drawings graphs, charts photographs phono-records electronically
transmitted communicative data, information stored on computer, or other data compilations
stored in any medium from which information can be obtained translated if necessary, by
you into reasonably usable form in accordance with Ala. R. Civ. P. 34. Such documents include those
that are in the possession constructive possession, custody and control of the party upon whom this
request is served

7 "Control" of documents /electronically stored information includes both possession and
the legal right to obtain the documents/electronically stored information upon demand See Ex Par/e
BASF Corp., 957 So.2d 11 04 (Ala. 2006).

8 "Electronically stored information" includes but is not limited to all information stored
managed or maintained on or by computers or information transmitted in electronic
format by computer or other electronic device. This term specifically includes emails facsimiles
information stored in The Nursing Home's or Controlling Corporate Defendants' intranet or internet
system or website, information stored within a database or server, and information kept on separate
storage mediums, including but not limited to CD-ROl\/ls memory sticks and portable hard drives

9 "Nursing Personnel" or "direct care giver" means all persons responsible for giving
nursing related care to residents at The Nursing Home, Such personnel includes registered nurses
licensed practical nurses aides medication aides nurse aides certified nurse aides rehabilitative nurses
restorative aides restorative nurse aides medication aides and orderlies including relief or pool
personnel.

10 "Nursing care" or "direct care" means any nursing related care that is: (a) required by The
Resident, as defined by the comprehensive resident assessment, comprehensive care plan and physician
orders and treatments and (b) performed by any nursing personnel, including any certified nurse aide at
The Nursing Home.

11 "Non-Nursing Personnel" means all personnel who are not responsible for providing
direct nursing care to residents at The Nursing Home, Such personnel includes administrative personnel
(defined below), dietary, medical records activity, social services housekeeping, laundry and

maintenance personnel.

Case 1:17-cv-00540-CG-C Dononn)e/nztr\Llr-e Filed 12/07/17 Page 37 of 108

12 "Administrative Personnel" includes but is not limited to administrators directors of
nursing, departmental heads admissions coordinators and staff, l\/IDS coordinators Medicare
coordinators/nurses, care plan coordinators marketing coordinators and staff and any billing and acuity
assessment coordinators/nurses at The Nursing Home.

13 "Therapy Staff" means all persons responsible for providing therapy services at The
Nursing Home, including but not limited to physical therapists, occupational therapists speech
therapists, speech language pathologists therapy technicians and restorative aides

14 "Nurse Aide" means an individual providing nursing or nursing-related services to
residents ofThe Nursing Home under the supervision ofa licensed nurse.

15 "ldentify" means supply the name, job title (e.g., nurse aide, medication aide, RN, LPN,
or any other position held), address and telephone number.

16 "Communication" "correspondence," and "communication/correspondence" refer to
emails facsimiles letters memos, notes and any other verbal communications reduced to written and/or
electronic form.

17 "Acuity of Resident" means the amount or level of everyday care required to meet the
minimum needs of a resident Among other things this takes into consideration the resident's
communication and cognitive skills mood and behavior patterns physical functioning and structural
problems continence, disease diagnoses health conditions oral/nutritional status skin condition
activity pursuit patterns medications special treatments and procedures and discharge potential.

INSTRUCTIONS

l The following written interrogatories are propounded to Defendants and are to be

answered in accordance with the ALABAMA RULES OF CIVIL PROCEDURE

2 The following interrogatories are to be answered separately and fully, by furnishing all
information in your possession, custody or control, including all information to which you have the
authority to compel from a third party, including any Controlling Corporate Defendant.

3 For each interrogatory and subpart of each interrogatory, if the information furnished in
your answer is not within your personal knowledge, identify each person to whom the information is a
matter of personal knowledge, ifknown.

4 The definitions set forth above are incorporated into these interrogatories Plaintiff relies
on these definitions to clarify the language contained herein

5 If you object to any particular interrogatory or part of an interrogatory, answer all

portions ofthe interrogatory or other interrogatories to which no objection is made,

Case 1:17-cv-00540-CG-C Donurm)ern\nr-GL Filed 12/07/17 Page 38 of 108

6 lf the space provided is not adequate to fully answer any interrogatory, please use
additional pages for your responses

7 ln the event you sold or transferred ownership of The Nursing Home to any person or
entity at any time during The Resident's stay at The Nursing Home, you are requested to provide
information in response to these requests for the time frame The Nursing Home was under your
operation and control while The Resident resided at The Nursing Home, unless otherwise specified

8 ln accordance with the ALABAMA RULES OF CIVIL PROCEDURE, you have a duty
to amend or supplement your discovery responses when you learn that your responses are incomplete or
incorrect when made, or, although complete and correct when made, is no longer complete and correct.

9 ln accordance with the ALABAMA RULES OF ClVlL PROCEDURE, you are to amend
or supplement your responses reasonably promptly after discovering the necessity for an amended or
supplemental response.

INTERROGATORIES

l. Please state whether this defendant has been properly named in this suit. If not, please

provide the proper name,

RESPONSE:

2. State the relationship between you and Defendant Eight l\/lile during the calendar year
2016.
RESPONSE:

3. Regarding the care or treatment of l\/ls, Bertha LaGrone, state how you were

compensated

RESPONSE:

4. ldentify (by stating the name, address telephone number, date of birth and period of
employment) all health care providers or workers who were direct care givers to 1\/ls. Bertha LaGrone
since January l, 2015. include in your answer whether they are still employed by you,

RESPONSE:

5. State the name of any of your employees who provided care or treatment to l\/ls Bertha
LaGrone in 2016 and were terminated and their termination date.

RESPONSE:

CaSe 1217-CV-00540-CG-C DCIC©|OHB/iijNir-é. Fll€d 12/07/17 Page 39 Of 108

6. identify each and every complaint made to you regarding your care or treatment of l\/ls.
Bertha LaGrone at any time during the time you were providing direct care to her. Outline the basis of
all complaints and any actions taken as a result.

RESPONSE:

7. Do you hold any licenses with any state agency? if so, provide the name of agency and
those who hold said licenses and the date said licenses were obtained

RESPONSE:

8. identify (by stating the name, address telephone number, date of birth and period of
employment) each person in the chain of command who directed supervised or was primarily
responsible for monitoring the performance of medical professionals providing care to l\/ls Berthan
LaGrone during 2015 and 2016.

RESPONSE:

9. State the name, addresses and phone numbers of each person who has any knowledge of
any acts relevant to this lawsuit or has any knowledge of any discoverable matter to this lawsuit, and as
to each such person set forth completely and in detail the knowledge ofeach.

RESPONSE:

10. Do you contend that The Resident or The Resident‘s family contributed to The Resident's
declining medical condition or hindered your ability to provide direct care? lf yes state the factual basis
to support your contention and identify every date you claim such conduct occurred lNSTRUCTlON:
This includes any allegation or claim that The Resident refused Treatments food or medications
Moreover, this includes any allegation that The Resident's family refused treatment, etc., or objected to
transfers

RESPONSE:

l 1. lf you notified any physician or healthcare provider about any significant change in The
Resident's condition while in The Nursing Home and said notification is not specifically documented in
your medical records identify each such notification by stating the date, time, person who made the
communication the physician or healthcare provider who received it, and the substance of such

communication INSTRUCTION: For the purposes ofthis interrogatory, a significant change means any

Case 1:17-cv-00540-CG-C Donurmiertii\ijr-GL Filed 12/07/17 Page 40 of 108

sign or symptom indicating deterioration or improvement of The Resident's physical, mental,
psychological or social condition.

RESPONSE:

12. Pursuant to Ala. R. Civ. P. 26(b)(3), please identify every witness you have interviewed
and every witness statement you have taken or received in this case by stating the name ofthe witness

and the date the interview or statement was taken

RESPONSE:

Respectfully submitted: November 1, 2017

ATTORNEYS FOR PLAlNTIFF, FRANK H. KRUSE, as
Personal Representative of The Estate of Bertha M. LaGrone,

/s/ Mar/e E. Spear

MARK E. SPEAR (SPE012)

G. RANDALL SPEAR (SPE016)
Spear, Spear & Hamby, P.C.

Post Office Box 1347

Mobile, AL 36633

(251) 344-8181

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Perrnission Given By:
/$/ Jamesl Daz'lev
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Mobile, AL 36604
(251) 441-9946

`grlailey63§a;hotmail.com

**PLEASE SERVE THE FOREGOING W|TH THE COMPLAINT**

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IN THE ClRCUlT COURT OF MOBILE COUNT i\g)JO SCHWARZAUER, CLERK

FRANK H. KRUSE, as Personal Representative of
The Estate of Bertha l\/l. LaGrone, deceased;

Plaintiff,
Case No.

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EIGHT MlLE NURSING AND "
REHABILITATION CENTER, LLC d/b/a “
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NORTH MOBILE NURSING AND REHAB JURY TRIAL DEMANDED

CENTER; and SOUTHERN CARE
HOSPICE, INC, d/b/a SOUTHERN CARE
GREENVILLE., and fictitious defendants 1-3
whose identities are currently unknown

Defendants *

FIRST REQUESTS FOR PRODUCTION T() DEFENDANT
EIGHT MILE NURSING AND REHBILITATION CENTER, LLC

COl\/lES NOW, Plaintiff, Frank H. Kruse, as Personal Representative ofThe Estate of Bertha 1\/1,
LaGrone, deceased by and through undersigned counsel, and propounds the following First Requests
For Production to Defendant Southern Care Hospice, lnc., d/b/a Southern Care Greenville:

GENERAL INSTRUCTIONS

l. Data compilations information recorded or microfilmed, microfiche, tapes discs or other
data recorded or stored in electronic or magnetic form should be produced on jump drives or CD-ROl\/l
discs

2. Documents and other tangible things produced in response to these requests should be
organized and labeled to correspond with each request.

3. lf any request set forth below "overlaps" another request so as to call for the same
documents electronically stored information or tangible things it shall be sufficient response to state
under the "overlapping request" that the identical items have been produced under another request,
which should be specifically identified Thus, where a document, electronically stored information or
tangible thing has been produced under a request, identical copies ofthe same document, electronically
stored information or thing need not be produced again unless it contains different markings additions
or deletions or its content, form or makeup is distinguishable in any manner.

4. ln order to assure that each item or thing requested is described with reasonable

Case 1:17-cv-00540-CG-C Dmmnien§lr\tir-‘zt Filed 12/07/17 Page 42 of 108

particularity, clarifying information is included under certain requests herein below set forth.
ln such case, the additional information either summarizes the request or more specifically describes the
documents electronically stored information or things sought.

5. ln the event you sold or transferred ownership of Southern Care Hospice lnc., to any
person or entity at any time during The Resident's stay at The Facility, you are requested to provide
information in response to these requests for the time frame Southern Care Hospice, lnc., was under

your operation and control while The Resident resided at The Facility, unless otherwise specified

DEFINITIONS
The following definitions apply to the requests for production contained herein

l. "Plaintiff" or "Plaintiffs" as used herein refers to Frank H. Kruse, as the Personal
Representative ofthe Estate of Bertha 1\/1. LaGrone, Deceased.

2. "The Resident" refers to Bertha 1\/1. LaGrone.

3. "You," "Your" and "Yours‘l means the Defendant to whom this Request for Production is
propounded However, if responsive documents electronically stored information and emails normally
kept and maintained by you are no longer in your possession, constructive possession, custody or control
but are now in the possession, constructive possession custody or control of any other Controlling
Corporate Defendant, "You," "Your" and "Yours" shall be defined to include all such other Controlling
Corporate Defendants

4. "The Nursing Home" and "The Facility" as used herein refers to Defendant Eight Mile
Nursing and Rehabilitation Center, LLC, at the location of 4525 St. Stephens Rd., Prichard Alabama
36613..

5. "Controlling Corporate Defendants" shall mean Southern Care Hospice, lnc., d/b/a
Southern Care Greenville, their central office, headquarters subsidiaries merged or acquired
predecessors affiliates successors divested facilities divisions or subsidiaries present and former
officers agents employees and all other persons acting or purporting to act on behalf of Controlling
Corporate Defendants

6. "Document," "documents," and "documentation" shall be used in their broadest sense and
shall mean and include all written, printed or electronically stored information including emails
writings drawings graphs, charts photographs phono-records, electronically transmitted
communicative data, information stored on computer, or other data compilations stored in any medium

from which information can be obtained translated if necessary" by you into reasonably usable form in

Case 1:17-cv-00540-CG-C Donurm)enn\iI-L Filed 12/07/17 Page 43 of 108

accordance with Ala. R. Civ. P. 34. Such documents include those that are in the possession,
constructive possession custody and control ofthe party upon whom this request is served

7. "Control" of documents/electronically stored information includes both possession and
the legal right to obtain the documents/electronically stored information upon demand See Ex Par/e
BASF Corp., 957 So.2d 11 04 (Ala. 2006).

8. "Electronically stored information" includes but is not limited to all information stored
managed or maintained on or by computers or information transmitted in electronic format by computer
or other electronic device. This term specifically includes emails facsimiles information stored in The
Nursing Home's or Controlling Corporate Defendants' intranet or internet system or website, information
stored within a database or server, and information kept on separate storage mediums including but not
limited to CD-ROl\/ls memory sticks and portable hard drives

9. "Nursing Personnel" or "direct care giver" means all persons responsible for giving
nursing related care to residents at The Nursing Home, Such personnel includes registered nurses,
licensed practical nurses, aides medication aides, nurse aides certified nurse aides rehabilitative nurses
restorative aides restorative nurse aides medication aides and orderlies including relief or pool
personnel.

10. "Nursing care" or "direct care" means any nursing related care that is: (a) required by The
Resident, as defined by the comprehensive resident assessment, comprehensive care plan and physician
orders and treatments and (b) performed by any nursing personnel, including any certified nurse aide at
The Nursing Home,

11. "Non-Nursing Personnel" means all personnel who are not responsible for providing
direct nursing care to residents at The Nursing Horne; such personnel includes administrative personnel
(defined below), dietary, medical records activity, social services housekeeping, laundry and
maintenance personnel.

12. "Administrative Personnel’l includes but is not limited to administrators directors of
nursing, departmental heads admissions coordinators and staff, l\/lDS coordinators l\/ledicare
coordinators/nurses, care plan coordinators marketing coordinators and staff and any billing and acuity
assessment coordinators/nurses at The Nursing Home.

13. "Therapy Staff' means all persons responsible for providing therapy services at The
Nursing Home, including but not limited to physical therapists, occupational therapists, speech
therapists, speech language pathologists therapy technicians and restorative aides

14. "Nurse Aide" means an individual providing nursing or nursing-related services to

residents ofThe Nursing Home under the supervision ofa licensed nurse.

Case 1:17-cv-00540-CG-C Dommnierrir\nr-'ZL Filed 12/07/17 Page 44 of 108

15. "ldentify" means supply the name, job title (e.g., nurse aide, medication aide, RN, LPN,
or any other position held), address and telephone number.

16. "Communication" "correspondence," and "communication/correspondence" refer to
emails facsimiles letters memos, notes and any other verbal communications reduced to
written and/or electronic form.

17. "Acuity of Resident" means the amount or level of everyday care required to meet the
minimum needs of a resident Among other things this takes into consideration the resident's
communication and cognitive skills mood and behavior patterns physical functioning and structural
problems continence, disease diagnoses health conditions oral/nutritional status skin condition

activity pursuit patterns medications special treatments and procedures and discharge potential.

REQUESTS FOR PRODUCTION

You are hereby requested to produce the following documents and electronically stored information in

your possession constructive possession custody or control:

l. All records evidencing your relationship/contract with The Facility for the calendar year
2016.
RESPONSE:

2. All records evidencing your compensation for treatment of l\/ls. Bertha LaGrone.

RESPONSE:

3. PHOTOGRAPHS AND VIDEOS OF THE RESIDENT: True, correct and complete
copies ofall photographs or videos ofThe Resident, including but not limited to:
a. photographs or videos of The Resident's face; and
b. photographs or videos documenting The Resident's condition; and
c. photographs ofThe Resident's bedsore(s); and
c. photographs or videos of The Resident while involved in any activity or receiving
any care.

RESPONSE:

4. MEDICAL RECORDS: True, correct and complete copies ofall medical records clinical
records charts and documents/electronically stored information pertaining to The Resident, including

but not limited to any ofthe following:

Case 1:17-cv-00540-CG-C Docoirnie/rnr\tlr-i Filed 12/07/17 Page 45 of 108

BUSINESS RECORDS: All medical records clinical records charts and
documems/electronically stored information pertaining to The Resident which: 1) were
created and compiled by you in the normal course of business; and 2) constitute business
records as defined in Rule 803( 6) ofthe Alabama Rules of Evidence.

ADL RECORDS: All records containing charting pertaining to The Resident used

by nurse aides or which include documentation of The Resident's activities ofdaily
living, personal care and all other care rendered by nurse aides to The Resident.
REGULATORY RECORDS: All documents/electronically stored information

pertaining to The Resident which are required to be created and maintained by The
Nursing Home in accordance with Ala Admin. Code Chapter 420-5-10-.03(36).
l\/iEDlCAL RECORDS NOT KEPT lN CHART: If not included in response to The
Resident, whether or not such record is normally maintained as part ofthe "chart,"
created by nursing or non-nursing personnel at The Nursing Home, which evidence that:
(a) The Resident was provided any type or kind of care or treatment while a resident of
The Nursing Home; (b) specific actions steps or measures had been planned or
implemented for The Resident; (c) nursing interventions had been accomplished for

The Resident; or (d) there had been a change in The Resident's condition

lNClDENT REPORTS: All incident/accident reports unusual occurrence reports

or variance reports including all electronically stored information emails
correspondence, memoranda and documentation created or sent by anyone connected
with Southern Care Hospice or Controlling Corporate Defendants about any such
incident, accident or event.

COMPLAINT/lNClDENT lNVESTlGATlONS: All complaint or incident investigations
undertaken by Southern Care Hospice, lnc., or Controlling Corporate Defendants prior to
receiving formal notice ofthis lawsuit which in any way relate to The Resident, including
all electronically stored information e-mails, correspondence, memoranda and
documentation created by anyone connected to Southern Care Hospice, lnc., or by
Controlling Corporate Defendants

lNJURY AND ADEQUACY OF CARE REPORTS: All documents/ electronically stored
information gathered in the ordinary course of business by Southern Care Hospice, lnc or
at Southern Care Hospice, lnc.’s request, prior to receiving formal notice ofthis lawsuit,
which evaluates or discusses any ofthe following matters

l. relevant facts about any clinical condition injury or problem developed by The

Resident while a resident ofThe Nursing Horne;

Case 1:17-cv-00540-CG-C Donomnierrn\nr-i Filed 12/07/17 Page 46 of 108

2. the cause of any clinical condition or injury present in The Resident when discharged
from The Nursing Home;

3. the preventability ofany clinical condition developed by The Resident at The Nursing
Horne; or

4. the adequacy or inadequacy of care provided The Resident.

11. PROBLEl\/i REPORTS: All problem-oriented reports about The Resident.

i. CARE PLANS: All documents/electronically stored information relating to any plan of
care for The Resident, including but not limited to all health care plans nursing care
plans patient care plans medical care plans and nutritional plans

j. THERAPY RECORDS: All physical therapy, occupational therapy, speech therapy or
rehabilitative records pertaining to The Resident.

lt. l\/iD NOTIFICATIONS: All documents/electronically stored information including
emails and faxes which notify a physician or member ofthe physician staffabout The
Resident's condition a change in The Resident's condition a need for an order, the status
of any ordered treatment, the lack of progress of any ordered treatment and any
complaints or concerns about inadequate care of The Resident, including any kind of
writing or memorandum which memorializes any notification provided by Southern Care
Hospice, Inc. to any physician for The Resident.

1. ACUITY EVALUATIONS: All "l\/ledical-Nursing Care Evaluations" pertaining to
The Resident, or any other form submitted by The Nursing Home to any governmental
agency documenting the health care needs ofThe Resident.

in LEVEL OF CARE DETERMINATIONS: All documents/electronically stored
information which pertain to the level of care determination made regarding The
Resident.

n. CONSULTANT RECORDS: All documents/electronically stored information
pertaining to The Resident created by any consultant for Southern Care Hospice, lnc.,
including but not limited to: (1) dietary consultant reports; (2) pharmaceutical consultant
reports; and (3) nursing consultant reports

n 24-1-10UR REPORTS: All twenty-four hour reports shift change reports and all
electronically stored information documents faxes and emails regarding such reports
which in any way refer to or concern The Resident.

instruction
Please redact the names of any other residents (but not the name of The Resident) referenced in the

assessments to protect their privacy.

CaS€ 1217-CV-00540-CG-C DOUDCU®’IEli\lf[-L Filed 12/07/17 Page 47 Of 108

Instruction:

CHANGE IN CONDITION ASSESSMENTS: All assessments pertaining to The
Resident, including those transmitted by email, which reference The Resident or
document any condition or change in The Resident's condition including all
electronically stored information e-mails, documentation and faxes about such change in

condition assessment,

Please redact the names of any other residents (but not the name of The Resident) referenced in the

assessments to protect their privacy.

lnstruction:

CHANGE lN CONDITION REPORTS: All change in condition reports pertaining to
The Resident including all documents emails electronically stored/transmitted
information and faxes created for the purpose of communicating to another a significant
change in the condition ofThe Resident or any care-related problem/issue pertaining to

The Resident.

Please redact the names of any other residents (but not the name of The Resident) referenced in the

assessments to protect their privacy.

l".

MASTER SIGNATURE LEGENDS; All master signature legends which identify

the signatures and corresponding initials for all direct care givers at Southern Care
Hospice, lnc., created or used during The Resident's period oftreatment.
CONTROLLED SUBSTANCE RECORDS: All controlled substances records as such
term is used in Ala Admin. Code Chapter 420-5-10-.16 for The Resident.

El\/IAILS AND COl\/IMUNICATIONS REGARDING THE RESIDENT: All emails
reports documents facsimiles or other correspondence pertaining to The Resident's
clinical condition treatment or care, including any complaints/concerns about The
Resident's care, treatment or clinical condition sent or received by: 1) Southern Care
Hospice, lnc.'s administrative personnel, nursing personnel and/or therapy staff; 2)
dietary consultant for The Nursing Home; 3) pharmaceutical consultant for The Nursing
Horne; 4) regional/corporate nurse for Controlling Corporate Defendants 5) Controlling
Corporate Defendants' regional/corporate vice president; and 6) corporate compliance

department.

CaS€ 1217-CV-00540-CG-C Dd@®l@nleitti\£lf-Z_ Filed 12/07/17 Page 48 Of 108

u. OTHER: All other records documents and electronically stored information (including
but not limited to hospital, medical, or facility records in The Nursing Home's possession
or control pertaining to the clinical condition treatment or care ofThe Resident,
irrespective ofthe source or author of such documentation

RESPONSE:

5. FINANCIAL FILE: True, correct and complete copies ofThe Resident's entire Financial
File, including but not limited to all l\/ledicare and l\/Iedicaid billing records for The Resident and all the
billing records reimbursement records and supporting documents

RESPONSE:

6. ADMISSION FlLE: True, correct and complete copies of The Resident's entire
Admission File.

RESPONSE:

7, HANDBOOKS, BROCHURES AND LITERATURE: True, correct and complete copies
of all handbooks brochures and other literature given to The Resident and/or the family of The
Resident,

RESPONSE:

8. PERSONNEL FILES: True, correct and complete copies ofthe entire personnel file,
including documents/electronically stored information for: 1) all administrative personnel who worked
and provided direct nursing care to The Resident at The Facility during the calendar years 2015 and
2016; and 2) all medical personnel who provided care to The Resident during 2015 and 2016 at The
Nursing Home, which were created and compiled by you in the normal course of business and constitute
business records as defined in Rule 803(6) ofthe Alabama Rules of Evidence:

RESPONSE:

8. All documents/electronically stored information containing policies procedures, manuals
or guidelines in effect during The Resident's stay at The Facility which are relevant to the care or
treatment rendered to The Resident at The Facility or which governed established or set forth the
expected standard of care for residents and standard of conduct for employees working at Southern Care
Hospice, lnc. during The Resident's stay which: 1) were created and compiled by Southern Care

Hospice, lnc. and/or Controlling Corporate Defendants in the normal course of business and 2)

Case 1:17-cv-00540-CG-C Donoicnie/rnr\tir-ti Filed 12/07/17 Page 49 of 108

constitute business records as defined in Rule 803(6) of the Alabama Rules of Evidence, including but

not limited to all ofthe following:

a.

RESIDENT CARE POLICIES: All Resident Care Policies Procedures and

Manuals in effect at Southern Care Hospice, Inc during 2015 and 2016.

b.

POLICIES REGARDlNG THE RESIDENT'S PROBLEMS: All procedures, policies
manuals forms and guidelines regarding any clinical condition ofThe Resident or
care/treatment required by The Resident in effect at Southern Care Hospice, Inc during
the 2015 and 2016, including but not limited to the following:
1. Pressure sore prevention treatment and care;

. Wound care;

. Alzheimer's/dementia;

. Diabetes;

. Coronary artery disease and/or congestive heart failure;

2
3
4
5
6. Weight loss prevention treatment and care;
7. Malnutrition prevention treatment and care;

8. Dehydration prevention treatment and care;

9. lnfection prevention treatment and care; and
10. Restorative care and rehabilitative care.

POLICIES DEVELOPED lN RESPONSE TO THE RESIDENT'S PROBLEMS: All
procedures policies and guidelines developed in response to any condition or care related
problem developed by The Resident by Southern Care Hospice, lnc.
ADl\/lINlSTRATlVE/OPERATIONAL POLICIES: The entire Administrative and/or
Operational Policy and Procedural l\/lanual in effect at Southern Care Hospice, lnc during
2015 and 2016.

PERSONNEL POLICIES: All Personnel/l-luman Resource Policies Procedures or
l\/lanuals in effect at Southern Care Hospice, lnc during 2015 and 2016.
RECRUITMENT, ADMISSIONS AND CENSUS POLICIES: All employee and/or
resident recruitment, retention admissions sales or census development policies
procedures or manuals in effect at Southern Care Hospice, Inc during 2015 and 2016.
MANAGEMENT PRACTICE GUIDELINES: A complete copy ofthe Management
Practice Guidelines in effect at Southern Care Hospice, inc during 2015 and 2016.
QUALITY ASSURANCE MANUALS: All written guidelines policies manuals and

procedures regarding the establishment, methodology, implementation and operation of

CaS€ 1217-CV-00540-CG-C DdUD£FHMl£t\JI-Zl_ Filed 12/07/17 Page 50 Of 108

any quality assurance program, study or evaluation including all forms to be completed
or utilized in effect at Southern Care Hospice, lnc. during 2015 and 2016.
DRUG DESTRUCTION POLlClES: All policies and procedures of Southern Care
Hospice, lnc. relating to the destruction or disposal of drugs and narcotics in effect at
Southern Care Hospice, Inc. during 2015 and 2016.

j. JOB EVALUATION POLICIES AND PROCEDURES: All written guidelines forms or
procedures in effect at Southern Care Hospice, Inc. during 2015 and 2016 evaluating the
job performance ofthe director, administrator or nursing personnel at Southern Care

Hospice, lnc.

9. CHAIN OF COl\/ll\/lAND: True, correct, complete and legible copies of any
documents/electronically stored information or charts applicable to The Resident's treatment showing
the hierarchy and/or chain of command within and between Southern Care Hospice, lnc. and any

controlling corporate defendant.

Clarifying Instruction:
For the purposes of this request, documents or charts showing hierarchy and chain of command means
any kind of document, including but not limited to a flow chart which identifies by name, position rank

and job title as many ofthe following person(s) as possible applicable to the resident's stay:

a. Presidents of any named defendant;

b. Directors and officers of any named defendant;

c. Heads of operations for any named defendant;

d. Gperations officers managers department heads or individuals holding regional,

district, area or any leadership positions in any subpart ofoperations structure containing
Southern Care Hospice, lnc., including but not limited to, area managers regional
managers district directors regional nurses clinical directors head oftotal quality
management, financial manager, human resource director or manager, managers of
marketing, or any marketing director;

r:. Operations officer, manager, department head or individual who held any regional,
district, or area leadership or management position within that portion ofthe operations
structure which includes Southern Care Hospice, lnc;

|`. Persons employed by Southern Care Hospice, lnc. and any controlling corporate
defendant who were responsible for approving, monitoring, and reviewing the budget for

Southern Care Hospice, lnc. and Southern Care Hospice, Inc's financial performance;

CaS€ 1217-CV-00540-CG-C DdUD©filt`-)iili\l]f-Zl_ Filed 12/07/17 Page 51 Of 108

g. Persons employed by any named defendant, whosejob description included
supervising, monitoring, reviewing operations performance or compliance with
policies and procedures or consulting with the administrator, director of nurses, head
ofdietary services or any departmental head of Southern Care Hospice, Inc;

h. individuals employed by any named defendant who were in any respect responsible for
monitoring, performing, or reviewing any ofthe following functions at Southern Care
Hospice, lnc.:

1. Compliance with the Alabama Department of Public Health licensure and
certification requirements

2. Compliance with administrative policies and procedures of Southern Care Hospice,
Inc. and any controlling corporate defendant;

3. Compliance with Standard l\/lanagement Practices (Sl\/lP) of Southern Care Hospice,
Inc. and any controlling corporate defendant;

4. Total Quality l\/lanagement (TQl\/l);

5. Uniform and Comprehensive Quality Assurance Program; and

6. Corporate compliance program.

RESPONSE:

10. MANAGEMENT CONTRACTS/AGREEMENTS: True, correct and complete copies of
all management contracts or agreements between Southern Care Hospice, lnc. and controlling corporate
defendants and any other person or entity that were in force and effect during the resident's stay and are
applicable to Southern Care Hospice, lnc.

RESPONSE:

11. WlTNESS STATEMENTS: True, correct and complete copies of all statements
including documents/electronically stored information and correspondence, of any person with
knowledge of relevant facts - a "witness statement" - regardless of when the statement was made,
including but not limited to witness statements obtained prior to lawsuit, resident and family statements
audio and videotapes of any statements

RESPONSE:

12. lNSURANCE AGREEMENTS AND POLICIES: All insurance agreements and policies
which afford coverage to you or your agents employees or officers for any conduct alleged against you

in Plaintiffs Complaint including any ofthe following more particularly described policies

CaS€ 1217-CV-OO540-CG-C DODIDImletiiiNI-I_ Filed 12/07/17 Page 52 Of 108

ri. All insurance agreements and/or policies in their entirety which afford protection to
you for the acts and omissions set forth by Plaintiffs in their original petition in the
above entitled and numbered cause including, but not limited to, primary, umbrella
and excess policies which may obligate any respective insurance company to satisfy
part or all ofajudgment which may be rendered in this action against the Defendant.

b. All insurance agreements and/or policies in their entirety including, but not limited to,
primary, umbrella and excess policies which may obligate any respective insurance
company to satisfy part or all ofajudgment which may be rendered in an action
against either the administrator ofthe facility as a consequence of any act or omission
by said administrator, member of governing body, or staff member.

u. All insurance agreements and/or policies in their entirety which pertain to any
management company engaged by you to operate the facility including, but not limited
to, primary, umbrella and excess policies which may obligate any respective insurance
company to satisfy part or all ofajudgment which may be rendered in an action
against the said management company arising out of its acts or omissions

RESPONSE:

13. Any and all communications to any healthcare provider or state agency regarding l\/ls
Bertha LaGrone.
RESPONSE:

Respectfully submitted: November 1, 2017

ATTORNEYS FOR PLAINTIFF, FRANK H. KRUSE, as
Personal Representative of The Estate of Bertha M. LaGrone,

/s/ Mark E. Spear

MARK E. SPEAR (SPE012)

G. RANDALL SPEAR (SPE016)
Spear, Spear & Hamby1 P.C.

Post Office Box 1347

Mobile, AL 36633

(251) 344-8181

rnesfntsshia@c_cnm

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Perrnission Given By:
/s/ James l Daz'l€tt

JAMES J. DAILEY (DAIOO5)
1206 Dauphin Street

Mobile, AL 36604

(251) 441-9946

jdailey63§a2hotrnail.com

PLEASE SERVE THE FOREGOING WITH THE COMPLAINT

 

Rev.i.aed 1*'.1'~04; lr'-l~99; 11»~1~99 5

IN THB. ClRCUlT COURT OF MOBILE COUNTY, ALAB A`lvi A

 

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Plttinlil`fts) _ "
vs "" CiViis AC'I'iON NO` WM__.____,__

_._ ._.._ __J ,,. * DATE COMPLAINT FILED

 

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ALMMLEEEFH_NLEMMMWBULML,L 1111th WI`;`!`.*.~

_ '1 his case has brien placed on the Expeditéd 'Crise Managemcnt Syslem which is designed to dispose of a i
case within 12 inonllis after filing ` t

 

OBJECT 1011 "\i‘() `INC ‘LU.SION ibi SYSTL"M

il a party to this cruise believes that the cause isextrernoly complex or will involve unique p'robicnrsn d _ ' :'
will be impossible to prepare for trial within the time frame ol` tire system, he muy, within 40 days after thel c late or
this order or if the party has 1101 been served at the date of thisorder, within 40 days after service, tile a motion
requesting that the cause not be included in thc system and that the parties be allowed additional time to prepare tire
cause for trial. A motion tried later than the aforesaid 40 days will nor he considered by tire Court Orzti argument
may be requested on nn exclusion motion 11` a cause ls excluded front the system by the Court n discovery schedule

will be sol by the Court after conference with the par ties ii n g;g§e tr so gxgrncim'l the game emi g § tr lg] portion 9§;(11§
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111 5 vEFtY

Unlcss the Court sets a shorter time, all pre-ti ial discovery shall be completed within ?.7(1 daysnfu:r'hiing
or` the complaint unless party fill ng the Motion to Ser unit Ccrtlfrcntc of Reticllncss requests nn additional period of
timer hutto exceed 60 days and ccrtihes thru nil discovery will he cont tuned within that time Notwlthstantling the
foregoing for good cruise shown the Court rnay.pcrmit, or the parties .miry agrees that additional discovery

procedures he undertaken anytime prior to rrini‘ so long ns such dl.<>‘cov.cr§l crm bn completed so 1\sn0tto require n
continuance of the trial setting

EEJHL!H.IQMEMM '- .TF‘.L"T`;R_ELM._E; TtIH 511

Counscl for the plaintiff shal`i, and counsel for any other party runy, tile tr Motion lo Setanci Certiticnle of
Rcadincsx. which shall be fried nor later..thu'n 270 days after the=.i`iilngot` the complaint lt such a motion is hot filed
by the ‘ZBlJtlr day, the Court will place the cz\so marked "To B¢ Dismlssocl" on a disposition docket irs near us
possible to die 30011'1 day and send notice oi` such to 1111 parties il` a Mol'ron to Set and Certii'icate of Rcrrdincss is nor
received by the Court prior to the disposition date, the case will be dismissed l

The Motion to tier and Certliicatc of i<oadtneiss will be in a form similar lo that available of 111 the clerks
office and will contain the following inforirrar.lun:

(_ 1 ') The date the complaint‘wns liled;

 

 

Case 1:17-cV-0054O-CG-C D@@@U@@ti£};-l]g Filed12/07/17 Page-SS-oi_t€€___

121 Thnt the issues iii the cline have boon defined niitl jolntid;

133 'l`hnt till discovery has been completed or will bn completcd within 60 days after the filing of the
Ccrtiflt‘nto ochndinei;s;

141 'l‘liat ti jury trial has or has not been <lt\.innndod:
L.‘i} The expected longth of the trial expressed in hours and/or dnys‘.
toll /1. brief description of' the plttl'iiti'i`l‘s' cluini;

iii The nanics. addresses and telephone numbers ol' the parties or their attorneys responsible t'ot thciii
litign`tion;

tS-} Tlint the movant counties that iill oxpoit witnesses expected to tosti 1`y itt ti'itil have been disclosed to
all partics, together with a summary of their opiniont;

WJ Thnt the movant acknowledges his/her rcsponsibility. to make all documents1 cithibits, tind
physical cvidcnco\ or copies thereof \_ expected to bo used in the case in chlol’ available to the other
pnrn`t».s, not loss than 21 days prior to tt‘itil. for inspection niitl copyiug;

(10) 'l‘hut the movant certifies that hc/sho has road the pretrial ordcr, that lie/she has complied with it
to date imd will comply with its rcqulremcnut in the i’uture.

The filing by the plaintiff ot'ti Motioii to Setttnd Ccrti~iiczitt: of Rondiness constitutes the voluntary
dismissal ol` nll fictitious parties whose true names linvo not boon substituted

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Within 14 days alter a Motion to Set and Certit'icittc of ltcudiiiess has been Ftlcd. counsel for nny,othci' party may
tile a Coiitroverti ng Comit'icato specifying the particular statements contained in the Certlflcatc o'i` Rcadiiiessto
which objootion is made, nnd the reasons thernft)re. Ot'iit argument niny bc requested 'i‘ho Court shall thereupon
enter nn ot‘doi` placing the case on thc Aotivo Cnlctidar either iiiinttidintoly oi~, where good cause ls shown itt n
specified tutor ditto.

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vi‘“'oui'tccn days iiitern Motion to Set iincl Cer_tilictuo oil‘ieadincso is tilcd, if a Controvcrting Coril'ficiite hat
not boon iilod, the cnso shall bo placed on the Act‘ivo Cnlontit\t, unless otherwise oitlcrcd by thc Court.

MN,Q_HL&IM‘LL

vUnch speoili<:nlly set hy tho Cuutt', cases on the Active Cnlontlnt' shull bo not vfor trial goncrtill y in the same
ordcr|tis they cun\e'on the Ao'ti've C!nlcndur and ns so on as possiblc. Prot`erenoo shall be given to cases which by
statuto\ rulo or order of the Court iii't~. entitled to priority Counsel shall bn given in least sixty days notice oi` the trinl
clnto.

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Whon a case lms been net for trial. no postpoi\ementot`.tho trial will be considered by the Court except on n
wrin<in motion substantially iii the i"oi'rn previously approved by the Court tObttiin front the Court n Roqucst l'oi'
Delny loi‘m,) '

Case 1:17-CV-0054O-CG-C"" D®@@nl]onntdi"-ib` 'Filed 1“2¢07f17_PHQE-56'Uf'108_'“

NOTIFICAT’.!ON Ol2 SETTLEMBN'F

in order to prov'ldeothcr litigants with prompt trial settings nil attorneys shall notify the Court of
aettlemcnt,-'rcgiitdlcss oi` to rtntns or stale of the civic (d_isoovory stagc, active calendar or trial calcndttr):

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'l`o expedite pro-trial nnd trial p.rociéldL\'n‘:.1 lt iii ORDERED by the Coan that the Foilowlng wiil npply:
l - ii§HLBLB\_!-HEJMLBTS..BHD_E[D'B LMDIFD_UEB&LE£
n. Each party shall identify in writing to all other parties and shall make nil documentr, exhibits amd

physical evidence. or copies th'crer)i’, expected to be ustui in tile case in chicl' available to the other pnrtles.
not loss than 21 says prior to tilal, i`or lnrpct:don and copying `Thc annie shall then be authenticated and
admitted lnto__cvldencc without further ploo_i', unless ryrittcn objections to any such documents or exhibits
be made to the Court not loss than 14 days prior to trial spccifylng thc grounds ol` objection to the
gonnint:nc.ss and relevancy ofthe proposed document, oxhil)it, or physical oviclorto¢, The requirement does
not imply to cloonmcnts. exhibits and physicnl evidence used solely ns_'li_nponchmont ovldonoc.

b, Documents. lcitllib'itn or physical .ovldonoo nor ti moly exhibited to or mode t\\'aile_ti)|t\, to other
parties prior 16 trial under this Order will not bo ndmittc.d into evidence at the trial unless solely for
impouchmont‘pui'poscs or'unloss the ends oi`justloe-so requiro_.

c. Doctunon’ts. exhibits or physical evidence so admitted hereunder shall be presented to the court
reporter for marking in evidence prior to i‘.rirtl.

1. EELEIUMMMMQEP§

a.. Il` npplicnblo, nll doctor, medical and hospital bills shall bn sent to nrn'mde nnnilnbin to all parties

not loss than 21 days hoioro trial and shall be admitted in cividenoc'. ms reasonable without linth proof.

unless wrli.icn objection to any such bills no made to the Coirrt“no loss than 'l ll days before trial specifying
the grounds for objection - '

b. Any such-bills not timcl;i exhibited lo the other parties will not be admitted in evidence tit trial
unless the ends ofjusticc so rcqulm.

c_ ’l`hi: bills so nomith shall be presented to the conn rcpom:r ll`or'rnrtrlting in evidence prior to trinl.
3. gnM',»_i otis l v

n. All parties sooking'spooinl damages shall Furnish thc -othcr parties with nlisi thereof not lens than

21 days bel"ol'o trinl. Written objections thereto mary be made not loss than ill days before trial specifying
the grounds of objet:tlons. -

l). Evidenco of special damages clniniod. hut not timely exhibited to other pnrtii=.s,-w.iil mother
admitted tnro evidence unless the ends oi`jnstir.e 130 rcqui`rc. '

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n. Agoncy and die time and place ofthe incident invo`lvcd, if alleged in thc cornplcinr, and, il` tt

negligence ct\se, thc existence of a duty, nrc admitted and rho portion tire deemed correctly named and
designated runless specifically denig:d by answer or unless written objection is made not less than 14 days
bt:forctrlal, Tho objections shall include the comer name nnd cnti'ty lind/or thc grounds relied on.

Case 1:17-cV-0054O-CG-C D®@@n)iennt\ii-il; Filed 12/07/17 Page 57 of 108

5. xl=mr §

at Unless previoun|y|ol)talneci b'y discovery, each party will furnish to ali other parties the humes,
liddrcsses and qualifications ol` all expert witnesses expected to testily, together with n brief summary of
their oplulot\s, Such d`tso`iosutt'l of experts shull bo made l)y the party filing the Mot'\or.t to Spt and
`Certil"icntc of Rearllnesn not later than the time of filing such motlun, Dinclosuro by all parties shall be
made not lntor than i4 days after the filing of the M_otlon to Sot and Cnrtlflctue of Roctdlnuss. `

tl. Disciosurn of experts in cases not included lu ther l~`ustu'nck system shall bn mudc by all parties not
loss than 60 days before trinll '

u. Unloss written objection to the qualilic_utious of nn expert is mndo not inter than 30 days before
trlai, stating gmuncla, the qualification of such experts will be admittotl.

l.|. Upon c`alling un expert to testify ut trinl, the nttornoy may state to the Court and jury the nnrno,
address and summary of the quttllt“tcntious of the expert..

tS. MLQNE.

~ ll the case la to he tried by n juryi requested written charges shall he submitted to tlio Court not later than
thel close ol` the plnirltlft`s onse, subject to supplementation during the course o.t` lho trial on u\nttt:rs which could not
be reasonably anticipated Each requested charge will be typed on letter sized paper unti itient`tl'intl by the pnrly's last
name and shall be nullibcro<l.

7. lLJ_R_Y“SEL-ECT§Q- N- 1

Bef'orn too commencement ot` trlul, tile parties will furnish or advise the oouit, outside the presence of the
jury, the names of»all insurance coinpuules involved and any special voir dire quw;tions for the purpose of qualifying
tile jury. `

st numr_no_surrtnunu:_nut:omn:vn

All parties nrc under duty to supplement responses to discovery ns provided by Ruic 26(€}(3) ARCP which
should be done not loer thzui 30 days before trinl.

[L l'~"|Q'|'|`[J[jS §§Tél,'§]' Ei§§! L:[

ll motion to_strlke or motion to dismiss a plotldini_tl is lliocl, the Court will not consider such unless n copy ol`
the pleading souqu to tie struck or dismissed in attached thereto

l 0. ,C_QMEMQ-T_S

ln the event of Schtv;lullng coullit‘.l affected counsel shall comply with the Attot‘-n¢y Cnlentinr Cont`ilct
Resoiutiou Orcinr ot` the Ainltnn'ul Sliplntno C.ourt.

lt is further ORDERED by the Court ti\ut the Court will reconsider nn y portion of the Gouc~.rnl Prc~Trlai

Or<icr upon tlmr:iy upplicntiotrl)y uny pnrty.

?{estiding Juc'lp,e, Jollh R. hackett l

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Revised 1»~1-04; lt-l-Qg; 11.~»1._99

iN THE ClRCUlT COURT OF MOBILE COUNTY\ ALAB A`MA

 

 

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case within il months 'ttit'e.r `t`tlirtg.

L_5515MIW.E_DIL\IER.EM

 

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ii` zt party to this cruise believes that the cause itt extremely complex or will involve unique problems grid
will be impossible to prepare l"ot trial within titett'ttte irtttrte ot't'ho system he ttttty, within 40 days utter the date oi'
this otder. or if the party hart not been served itt the date oi'tltis ot'det', within 40 days after sorvioo, i'tlo a motion
requesting that tl to cause not he included in the system and that thc parties be‘ztllowe,tl additioner time to prepare cite
cause for ttittl. A motion filed later them the afotosttid 40 days will ttot he considered by the Court Orttl atgumettt
may be rcqtttist€d on tnt exclusion motion li a cause is excluded from the system try the Court, a discovery schedule

will itc sol by titc. C»Qutt after cottit>tcttct‘ with the pnt‘tics. I,f_tt~!jg;t@hl§_t;gmtcxghtgi"_gimthgggpprnl gte tt ittl Qor §igtt Q_[_gi]l§
order-will remain itt affair unless toeci'iicttiiy aitt':rt'.ti ltv tltrt Ctt:rttttt

LEL$`_W-`_'i.`-l_‘.~£"£fs§

Uttloss tito Court stats tt shorter time, all pts-trial disco ve.t'y shall itc completed within 270 tizt_.ytt alter t"tilttg_t
oi" tito complaint unions party filing thc i\'lttt‘tott to S'e.t titt<i Cc.t~ti'hcstte oi`Rctt<iin¢ss requests mt addiinmll Wriod ol"
ttttte,\ not to exceed 60 days, and certith that ali discovery will t>t: concluch within thrtt tlmn. 'Notwitltstztttclittgttto
l’o'regoit'tg', For good cruise shown, the Coutt rusty pottnit, ortho ptittios may agroo,ihttt additional discovery

procedures ho.ttndortui:en attyt‘tmepri-r)c to tt‘ietl\ so long its such discovery can he completed so annot to te.qitii'e a
continuance oi` the trial settittg.

¢‘t_t'i"_`.l _l_'i`J',l __,*;i_,`];{_;l_ SJ‘ l' .t"'t`}-'D ~1.'_' [-i ii i`ll*'i(' ATE OF RE.i'tFill‘.'t]E§-‘S

Cottnsoi Eot' the pjletitttii`lJ shallx end counsel for any other party may, tile rt vli/lotiort to Sot and C‘x,rtii"tottto oi`
Rottdirtotzs, Whiclt shall bel'tlcd ttot later than 270 days iti'tot' thex l`ilittg o'i' the oorttplalrtt. l’i' t;|t)oh a motion is itol lilerl
by the Ztiiitit clayq the Court will pittoo the case metrde "T`o Bo Dismi+tse.tt" on a disposition docket as hour 35
possible to the BOOtit clay attcl scott ttot.ittc, oi' such to nil ;tat~tios. ii n l\/iotiott to Sot ttttcl Cettii'icttttt of chtiitte,stt is not
received by the Court prior to the disposition dtttc, the nasa will be tlism'tssoti\

The Motiottto Sot attc`i Cctt't.i'icztto oil Ruttciitte.s‘s will bet itt a t`orttt Sitttilttt' to that nvttilttitlo of itt the oiet'k`s
office strict will oontttitt that following infortrtrttitttt:

( ll '.i`ltc, clutc thc. Complaint was |`lic<i;

 

Case 1:17-cV-00540-CG-C D@@t@mt@ghi-rl Filed 12/07/17 Page 59 of 108

tE!t Thnt the issues lh the cane have been defined ttttdjoine<`i;

tit Tltttt ali disoo\)et'~y luis been completed or will be completed within 60 days after the filing o'l` the
Ccri `t l`lc‘ate ot` Rt?ttdittess;

{rt] Tttttt r. jury tritt!-tttts or |t:t.~t net ltt.-r.'tt dt:tttMtttetl'.

tit 'I`he expected length ol’ the ttt'ztl expressed itt hours end/or tittys;

ibt A brief description ot`the plztittt'ii`i‘s clainr;

iii "i`lte namea. addresses and telephone numbers el the parties or their attorneys responsible for their
iitt'gaiiott;

ttt} Tttttt ute movant certifies that ttlt expert witnesses expected to testrt'y itt trial bare been <l`tst:.ios¢d to

zti| 'pttttics, together wi tit a sutntttttry oftheir opittiotts',

{9} That the movant acknowledges his)her responsibility to make ttll doctt.mttttts` exh.lbits. tutci
physical evidence or copies thereol`, expected to housed in the ease itt eltiei° available to the other
' puttiee, not lose then 21 days prior to triai, lot inspection mtd copying

(lO) Thttt ute rtt»;trttt'tt entities thttt heteite tuts reed the ure-tr'utt urtter, utrtt hetetttt tttt.t eerrtpt|t~u trittt it
to date ztttd will comply with its requirements itt the t’tttut'e.

The filing by the plaintiff oi`tt Motiott to Sot nnd Cert`tf`tcntc of Rettdittcsts constitutes the voluntaryr
dismile oi ttil fictitious parties whose true ntttttes hutto ttot been substiuttcd. ‘

cQN'rRovnRr§tno courtroom

Withitt 14 days alter rt Mou‘on to Set and Certifiettte of Iuntcllness lies been i"tl.ed, eottnsei for uny.otitcr party may
tile n Co tttrovertirtg Certit'“teztte. st)ecifying the particular statements contained in the Certifloate ot'Readlttett.tto
which objootiort.itt rttttde. end the reasons therefore Oral ztrgttn')ertt may be requested The Court shull thereupon
enter ttn order placing the ease on the Aetivc Ceiettrler. either immediately or, where good cause itt site vm. itt zt

specified later <|ttte.

AM.§J.&L'_EHD_&R

Fourt<~.ett days after rt .`t\iiotiott to Set ttttd C`,erit"iiottto oiRendineus is Fileci, ii`tt Conitr)\'ertittg Certit"tcttte hits
not been bled. the ease shell be§plttoed ott the Active Cal end ur, unless otherwise ordered by the Court,

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i)nless speeil“tcttily set:by the Court1 cases on the At:tive Cnletttlttr sheiibe set vfor trial generally in the name
ttrttt:r.'.trt they currie ott the native Cttlt:t.tt|ttt- rttttl rts att-ott att poseib_le. ltrr.t}:mttoe shall i:t.t given to eeth whir:.tt by
statute rule or order of the Court )tt~e entitled to ptiority. Couosel shall be given ttt least sixty days ttoiicetof the trittl
tizttt':..

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thett;tt ease titus truett-net t'ttr '.rlttl. cttt unanimouqu el'.the tt'ttti witt beverttt.e'tttt:teti u_t.- the t;'uurt except urt n
written t'rtotiottrsubsutntiully ittithe |`orrtt previously upprorecl by the Court. (Obt.u`m h‘oru the Court it liequest ior
Delay iorttt,)

 

 

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NOTiFiC/\TI.QN O,F‘ SETTLEhiENT

in order to provide other iitignntt with prompt ttini pottinger till attorneys nht\il notify the Court ot`
setticmerrt, regardless ot to ritntttv or state of the otisc (disoovory stagr‘., active ctrle`,ndirr or trial onlcndnr)'.

iiimeimriiii‘nnnmrmeit

"i`o expedite pretrial end trial procedure itis ORDERED by tire Court that tire ioilowing will appiy:

l. EXHIBI_T_`§)‘_, OCT. Ei.£ti_‘iTi'i. »*ii‘_~i.[_i iiii`[hi'i.r}`ri. l.:_' VLQENCB _E___NEB£>LL_Y
a. i`ach party shall identify iri 'iv-ri.tlnp, to ali other parties andi t hall make iii documents exhibits and

physical evidence1 or copies thereof expected to he tried in the ctrse in cliici` trviil liable to thc other ptirile.i.
riot less then 21 says prior to trial for inspection and copying The nunc hall then he authenticated and
admitted into evidence without further prooi', unless written objections to tiny rinch documents ot exhibits
be mode to the Court not less than id doyri prior to trial specifying the grounds of objection to the
genuineness nnd relevancy oi` thc proposed document, exhibitr ot physical evidenco.. The requirement does
not apply to doctriitcnt.‘t, exhibits i\tid physical evidence used solely trit_ irnpeor.‘,hmcnt. evidence

h, Doounrcnts. exhibits or physical evidence not timely exhibited to or mode available to other
parties prior to cr'iiti under this Order will not be adrriitted into evidence tit the ii"ittl unless solely for
itnpi:.ncinrront purposes oi'iinless tire ends of justice so 'roqn`irr.‘.

c. Doi:urncrrts exhibits or physical evidence so admitted hereunder shall he presented to the court

roper tcr for ri)iniiiog` rn evidence pt lot to ninl
1 D_QLTDMMM,_MJ_LMMBLEE§M

itt Ii‘ irppllcrrble, till doctor, medical and hospital bills i;htrii be rent to or mrrde avniloblo to all parties
not lens than 21 days before trial and shall be admitted in evidence ns reasonable without i`itrt.hcr prooi`.

unless written objection to tiny such bills be rnrrde'to the Court~rio tenn than 14 days before trial specifying
the grounds for objection.

b. Any such bills not timely exhibimd lo the other parties will not be itd‘iiiitted iii evidence tit trial
unless the midst t)l`ju.‘ii'ict: so rcquii'e.

t'. The bills so admitted shall be presented to the court reporter 'l`ci' marking in evidence prior to trini.
`i- i'£.iiiidr-ELES

a. Ali piirties seeking special dortingos shull iht‘irr`.<rir thel other parties with rt list thereof not lots than

Zri days before iriiii.` Written objections thereto rnity ho rntrde not loss than iii days before trial specifying
the grounds oi` ol)_icctions.

br Evltietrcc of special damages claimed but not timely exhibited to other pnrt.ies, will not he
ndrriittcd into evidencel itnlt:$tt the ends o'i` justice so‘tot|ttirc.

4. Et'i§El‘L'll`{;fi:Hd.iirl\_Hll.MQii:L"-_L|T_`i
ii. Agoncy and the time zindplirce of tholnciticr`rt involved ii allotted in thel dornpiirr`nt1 and iia
negligence c‘rsc, thc existence of tr duty, nrc itdmittetl and thc pnriio$ trio deemed cor'iccti§ named trrrd
designated onions specifically denied by answer or unless written objrction` rs made not lest than l-i dtry-
before trial ’i. he objections shall include the correct entire irnd entity and/or the grounds relied on

 

 

CaS€ 1217-CV-OO540-CG-C D®©MHIHNT-l]l Filed 12/07/17 Page 61 Of 108

r~. rilestt§

a. Uniess pmviousl§ obtained by discovery each party Wili 'l"urnisi\ to all other poulos tim nitmes,
iiilclicsseii unit titnili|lcntioiis of tilt export witnesses tap-:cted tn-tnstlt`:.r. together with a brief aluminuml of
their opinions. Such disclosure of experts shall be made by thc p`arty filing tile l\flotion to Sot and
`C`.ortiiic.nte ofRoatiiness not latin than thctlmo ofi'\ling such mollon. Dlsclosttio by ali pmies shall be
made not later than 14 days alloy tile lillJ)g of the Motion to Snl. and Cor‘tltlc.zttc of Re:adiu:~ss. `

l). Dlsclosurc o‘l wig-mts in cases not included in the Fastcrack system shall be made by all parties not
less thnn 60 days helm tt'L:l|.

c. Unlciss written objection to the qualifications of an expert is made not litter than 30 days before
ti'ial, stating grounds\ tl\e qiuilitiimtion of such experts will be atlmitt<:<l.

d. litton c`nlling un _cxpcrt to testify tit trit\l, the nt.tonloy may state to tim Cot\tt lind jury tim nitmt“,,
adcli~oss soil sununz\i'y of film qualifications ot` the expert ‘

is.' tttlLtNSInt$t'tttti& ,

y lt` the male is to lie tried by a jury, mitigatqu writh=.n charges shall he slthtnittu:l tit dim Court not ltttt.rthztn
the close ol' the plaintiffs case, F,ttbj\ecr to supplementation during the course of the trial on matters which could not
be reasonably anticipatedi Eacil requested charge 'Will be typed on letter sized paper and identified by the party‘s lest

name and shall l)o numborod.

'1`- E_UYL.EQUN

Be'Fore. tile cornme.noemqnt ot` tt'lnl, tile parties will iut‘nish or advise thc c`ot\rl, outside the presence ol" clic
lury, the names of oil insurance companies involved and any special voir dire questions t`<)r` the purpose of.q onlii`ylng
the jury.

S. :otlu:o§ttt?m;mt~t,;r.;w§§ovm

fill parties t~,;t~. minor duty in suppleman mtponmn to til-ancillary its prtiv|tio:l li;¢ Ruli: ?.Et:ltfll AREF which
should be done not loss than 30 dl\ys before ti'it\l.

J- ' M§)II`QNWFMJMLLX

if motion to strike or motion to dismiss a pleading is liled, tile Court will not consider such unless n copy of
tile pleading sought to be struch or dismissed is attached thereto

ill _f.`»`l_liii`l_ifl£§}";'$.

in the event of scheduling conflict affected counsel shull comply with tl'le' Attot'ntzy Calendt\r Coni`lict
Rcsolt\tion Orclor oi` the )\lnhurnel Supi~c.n_ic Court.

lt is fulthir.i' ORDERED;i)y lite Com't Ll. t tim fha uri. will immunities tiny portion ol` tim t.`w.ncml Pi'e~”i`i'ls\l

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CaS€ 1217-CV-00540-CG-C D®C]UUGIBNT'@ Filed 12/07/17 Page 62 Of 108

 

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Uniilod Judlclal Sy ¢ v _. ` _ ' ..
moe/4 m g R\C,l N A n CW"_ _ 02 cv 2017 902859.00

 

 

 

lN THE ClRCUlT COURT OF MOB|LE COKJNTY, ALABAMA
FRANK H. KRUSE V. EIGHT MlLE NURSlNG AND REHAB|L|TAT|ON CENTER DBA ET

NO'HCE TO‘ E|GHT MlLE NURSiNGl AND FiEl'lABIL|TATiON CENYER DBA. C/O RlCi'iARD Gll.l. 444 B. F’f;'RFiY STREET, MON‘TGOMERY, Al. 36104
maine and Address of Defendanlj

THE COMPLAINT OR OTHER DOCUMENT WH|CH l$ ATTACHED TO THIS SUMMONS |S |MPORTANT, AND YC')U MUS`-l'

TAKE lNlMED|ATE AC"|'|ON TO PRO"T'ECT VOUR RIGl-i“l'S. 'Y'OU OR YOUF'Z ATTORNEY ARE REQUlRED TO Fll.i“:' THEE

ORICS|NAL Oi-" YC)UR WFZl‘l“`i“EN ANSWER, E|THER ADMiT'l"lNG OR DENY|NG EACH ALLE(SAT|ON |N l"l-iE COMF’LA|NY OR

OTHER DOCUMENT, W|Tl-i THE CLERK OF TH|S COURT» A COPY OF YOUR ANSWE.R MUST BE MA|.LED OR HAND

Dl.`~fL,l\/ERED BY ¥OU OR VOLIR ATTORNEY 'l`O THE Pl.AlN`i`lFF(S) OR ATTORNEY(S) Ol`~' THE Pi.A|NTiFF(S),

Mad< E€ Spear 1
[Nanw(s)n-.'Airomiiy{si} ` ` `

WHOSE ADDRESS(ES) lS/ARE: P.<)B'i Off-l\';e Box 1347, Mob|ie, Ai. 36633
[Addmss(os) of Plaiinlll‘?{s) or Atlomey(s)]

THE ANSWER MUST BE MAlLiED OR DEL|VERED W|TH|N 30 DAYS AFTER THlS SUMMONS AND COMPLA|N`V OF'l
O“l`HER lJOClJME`NT WERlT-l SERVET) ON YOU DR A JUDGMENT BY DEFALJL"\" M/-\Y BE' REN¥.`)E.RED AGAlNS`l" YOU FOR
THE MONEY OR GTHE'R T`l'llNG$ [JEMANDED iN THE COMPI.A|N`F OR OTHY.~'.R DOCUMEN`T.

 

 

 

TO ANY SHER|FF OR ANY PERSQN AUTHOR|ZED BY THE ALABAMA RULES QF ClV|L
FR{)CEDURE TO SERVE -PROCES$:

ill Y<)u are hereby commanded to S€>rvo this Summons end a copy of the Complaint or other document ln
this action upon the above-named Defendant.
i§/`_`i »Serv|oo by coniilotl mall of this Summons is initiated upon the written fequost of FRANK H. KRQ,$E

 

 

 

 

 

 

 

pursuant to the Alabama Rules of the Clvll Procedure. i a" all
11/1/2017 1125!50 PM /S/ JOJO SCHWARZAUER By: '
(Dato) (Signnmre of Cierk) if (Nama)
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CENTER DBA
(Deli=)ndanl)

 

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Case 1:17-0\/- 00540- CG- C D@QUUQQ'N$- 111 Filed 12/07/17--Page`6 snf iu c

OR|G|NAL

AVSO305 AM BAMA JUDICIAL DATA CENTER
MOBILE COUNTY

0RDER FOR SERVICE AND RETURN

IN THE CIRCUIT COURT OF MOBILE COUNTY
FRANK H. KRUSE V. EIGHT MILE NURSING AND REHABILITATION CENTER DBA ET

SERVE ON: DOOl

EzGHT MILE NURSING AND REHABILITATI
C O RICHARD GILL

444 S. PERRY STREET

MONTGOMERY ,AL 36104-0000

NOTES:
YOU ARE REQUIRED TO RESPOND TO DISCOVERY WITHIN 45 DAYS OF SERVICE

--.-M-l ______________________________________________________________________

TO ANY SHERIFF OR ANY AUTHORIZED AGEN

YOU ARE HEREBY ORDERED T HL THE ATTLCHED aDUCU`M
TO THE ABOV ENLHED PERS
11/03/2017 DATE CLERK: J
25 PVERNHE UR§§§E

TH ?5?4- 33420§

I HEREBY CERTIFY THAT I PERSONALLY DELIVERED A COPY OF THE ATTACHED

 

 

 

 

DENTOCUM IN COUNTY, ALABAMA
TO.
' smz_n?_sm -_
WFHDBREEBFHBU'FE-__ DHTE _"__ _"“'

__.-\q ________________________________________________________________________

 

 

#. Case 1:17-cv-00540-CG-C DWg@Ni-g;, Filed12/07/17 Page 64 f103
.+' |Ti||||||l||||l|||||||||||||||||||l|||l|

;’-gJ| \'-I.- ll ..-
4. w ., Mobi|e County Sheriff's Office

CV 2017 902859. 00

FRANK H. KRUSE VS E|GHT MlLE NURS|NG AND REHAB|L|TAT|ON CENTER DBAE
COMPLAlNT-SUMMONS-ORDER-lNTERROGATOR|ES & REQUEST

SOUTHERN CARE HOSPICE, lNC

1110 MONTL|MAR DR Mobile, AL 36609

Due By

Date Served:

Service Attempt: 11/09/2017

Action: Service Attempt |:| Paper Served |:] Drop Deputized

No Contact: |:l Left Card [:| Other (see notes)

Not Found: |:| |V|oved ~ New Residence Moved - Unknown Location |:] Deceased [:| Vacant Residence / Lot

|:| Not Employed |:| NlT (Nor in Territory) |:] vaA (Recalled vv/O Action) [:| CTO (Come to Office)
|:| Other (see notes) |:| No Property Found |:| Address Does Not E)<iSt
|::| Subject Unknown at this Address |:| NOt Found After Di|igent SearCh
l:| Not Found-Too Late For Service [:| Not Found-Deputy NotA|IoWec| on Property
Served To: Location Served: [:| Listed m Other
Deputized Person; Location:

Notes:

|:| Avoiding Service |:] Deputized Person |:| Posted on Property |:] Executed [:| Refused Service

RETURNED 11/13/2017
Not Found in |V|y County After Di|igent Search and inquiry.

By: _ l __ __ D.S. Copy mailed to defendanton

PEOPLES. HENRY

MCSO Civil Division

510 S. Royar St.

Mobne, AL 36603

(251) 574~2423 Exponer

Case 1:17-cV-0054O-CG-C Document 1-1 Filed 12/07/17 Page 65 of 108

A|aFi|e E-Notice

 

OZ-CV-2017-902859.00

Judge! JA|V|ES T. PATTERSON

To: SPEAR |\/|ARK EDV\/ARD
mes@Ssh|awpc.com

 

NOT|CE OF NO SERV|CE

 

|N THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA

FRANK H. KRUSE V. E|GHT |\/||l_E NURS|NG AND REHAB|L|TAT|ON CENTER DBA ET
O2~CV-2017-902859.00

The following matter was not served on 11/13/2017

D002 SOUTHERN CARE HOSPICE, lNC
Corresponding To
PARTY MOVED

JOJO SCHWARZAUER
ClRCUlT COURT CLERK
MOB|LE COUNTY, ALABAMA
ClRCUlT ClV|L D|V|S|ON
205 GOVERN|V|ENT STREET
MOB|LE, AL, 36644

251 -574~8420
charles.|ewis@a|acourt.gov

Case 1:17-cV-0054O-CG-C Document 1-1 Filed 12/07/17 Page 66 of 108

AlaFile E-Notice

 

02-CV-2017-902859.00
Judge: JAMES T. PATTERSON

To: SPEAR GARY RANDALL
grs@sshlawpc.c:om

 

NOT|CE OF NO SERV|CE

 

|N THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA

FRANK H. KRUSE V. E|GHT |Vl|LE NURS|NG AND REHAB|L|TAT|ON CENTER DBA ET
OZ~CV-2017-902859.00

The following matter was not served on 11/13/2017

DOOZ SOUTHERN CARE HOSP|CE, lNC
Corresponding To
PARTY MOVED

JOJO SCHWARZAUER
ClRCUlT COURT CLERK
MOB|LE COUNTY, ALABAMA
ClRCUlT ClV|L D|V|S|ON
205 GO\/ERN|V|ENT STREET
MOB|LE, AL, 36644

251-574~8420
charleslewis@alacourt.gov

Case 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 67 of 108

/-\laFile E-Notice

 

OQ-CV~2017-902859.00
Judge: JAl\/lES T. PATTERSON

To: DA|LEY JAl\/lES JOl-lN
jdaileyGB@hotmail.com

 

NOT|CE OF NO SERV|CE

 

|N THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA

FRANK H. KRUSE V. E|GHT MlLE NURS|NG AND REHAB|L|TAT|ON CENTER DBA ET
OZ-CV-2017-902859.00

The following matter was not served on 11/13/2017

D002 SOUTHERN CARE HOSP|CE, lNC
Corresponding To
PARTY lVlOVED

JOJO SCHVVARZAUER
ClRCUlT COURT CLERK
l\/|OB|LE COUNTY, ALABAMA
ClRCUlT ClV|L D|V|S|ON
205 GOVERNl\/|ENT STREET
MOB|LE, AL, 36644

251 -574-8420
charleslewis@alacourt.gov

Case 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 68 of 108

A|aFi|e E-Notice

 

OZ~CV-2017~902859.00
Judge: JAN|ES T. PATTERSON

TO: E|GHT |\/||LE NURS|NG AND REHAB|L|TAT|ON CENTER DBA (PR(
C/O R|CHARD GlLL
444 S. PERRY STREET
l\/|ONTGO|\/|ERY, AL, 36104~0000

 

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|N THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA

FRANK H. KRUSE V. E|GHT |Vl|LE NURS|NG AND REHAB|L|TAT|ON CENTER DBA ET
02-CV-2017-902859.00

The following matter was not served on 11/13/2017

D002 SOUTHERN CARE HOSPICE, lNC
Corresponding To
PARTY l\/lOVED

JOJO SCHWARZAUER
ClRCUlT COURT CLERK
MOB|LE COUNTY, ALABAMA
ClRCUlT ClV|L D|V|S|ON
205 GOVERNMENT STREET
MOB|LE, AL, 36644

251 -574-8420
charles.lewis@a|acourt.gov

Case 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 69 of 108

 

A|aFi|e E-NOtiCe

 

 

02~C\/-2017-902859.00
Judge: JAN|ES T. PATTERSON

TO: SOUTHERN CARE HOSP|CE, lNC (PRO SE)
C/O l\/l|CHAEL PARDY
1110 MONTL|MAR DR|VE
MOB|LE, AL, 36609-0000

 

NOT|CE OF NO SERV|CE

 

|N THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA

FRANK H. KRUSE V. E|GHT N||LE NURS|NG /-\ND REHAB|L|TAT|ON CENTER DBA ET
02-CV-2017-902859.00

The following matter was not served on 11/13/2017

D002 SOUTHERN CARE HOSP|CE, lNC
Corresponding To
PARTY l\/lOVED

JOJO SCHWARZAUER
ClRCUlT COURT CLERK
MOB|LE COUNTY, ALABAMA
ClRCUlT ClV|L D|\/|S|ON
205 GOVERNMENT STREET
MOB|LE, AL, 36644

251 -574-8420
charleslewis@alacourt.gov

Case lil7-CV-OO540-CG-C DMUEWLJ§ Filed 12/07/;%;7£%P&%%17R%]Q}°C%0“§YF]LED

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IN THE ClRCUlT COURT oF MOBILE COUNT ig>?§l§#§acvi)li)§zT/iYu/§]§,AYFEW

FRANK H. KRUSE, as Personal Representative of *
The Estate of Bertha l\/i. LaGrone, deceased;

Plaintiff,

v Case No.
EIGHT MlLE NURSING AND
REHABILITATION CENTER, LLC d/b/a
NORTH MOBILE NURSING AND REHAB
CENTER; and SOUTHERN CARE
HOSPICE, lNC, d/b/a SOUTHERN CARE
GREENVILLE., and fictitious defendants 1~3
whose identities are currently unknown,

 

JURY TRlAL DEMANDED

*******-!'l-I-'I'p“¢

-I-

Defendants,

COMPLAINT

COl\/IES NOW, Plaintiff, FRANK H. KRUSE, as Personal Representative of The Estate of
Bertha M. LaGrone, deceased and against the named Defendants EIGHT MlLE NURSING AND
REHABILITATION CENTER, LLC., SOUTHERN CARE HOSPICE., lnc., and the fictitious
DEFENDANTS 1-3, states:

l. Plaintiff, FRANK H. KRUSE, as Personal Representative of The Estate of Bertha l\/l.
LaGrone, deceased, has full legal authority to act as Personal Representative of Bertha M. LaGrone's
estate. (See Exhibit A)

2. Defendant EIGHT MlLE NURSING AND REHABILITATION CENTER, LLC., d/b/a
NORTH MOBILE NURSING AND REHAB CENTER, ("ElGHT MlLE") is, on information and belief,
a nursing home licensed to do business in the State of Alabama claiming to specialize in the care of
individuals who are chronically infirm, mentally dysfunctional, and/or in need of 24 hour skilled nursing
care and treatment.

3. Defendant SOUTHERN CARE HOSPICE, INC, d/b/a SOUTHERN CARE
GREENVILLE ("SOUTHERN") is, on information and belief, licensed to do business in the State of
Alabama claiming to specialize in the care of individuals who are chronically infirm, and/or mentally

dysfunctional.

CaSe 1217-CV-OO540-CG-C D(RQ§?M@HUTL-l§ Filed 12/07/17 Page 71 Of 108

4. Defendant SOUTHERN provided care to Bertha l\/l. LaGrone during her stay at EIGHT
MlLE.

5. Fictitious Defendant l - Those persons, firms, or entities who negligently or wantonly
hired, supervised, and/or retained employees of the named Defendants who were responsible for the
care, treatment and supervision of Ms. Bertha l\/I. LaGrone,

6. Fictitious Defendant 2 - Any other firms, corporations, entities, or individuals doing
business as Eight Mile Nursing and Rehabilitation Center, LLC and/or Southern Care Hospice, lnc.,
defendants;

7. Fictitious Defendant 3 - Any healthcare providers whose signature(s) are illegible within
any records produced/received during the course ofthis litigation.

8. Defendants had a plan for their nursing facilities to maintain or increase resident census,
control costs, and maintain or increase revenues.

9. Defendants’ methods of operation have also included alteration and/or fabrication of
nursing home records to indicate care was provided when it was either not provided, or was provided
and not contemporaneously documented.

lO. Defendants’ methods of`operation have also included receiving payment from residents
and their reimbursement sources such as Medicare and Medicaid without adjustment for services that the
defendants did not provide, or for services which otherwise did not meet the acceptable standard of care
required tojustify payment for said services.

l l. The identities of fictitious party defendants 1-3 are unknown to the Plaintiffat this time,
or ifthey are known to the Plaintiff at this time, they are not known as a party defendant; however, when
Plaintiff ascertains the identities of these parties, they will be substituted in accordance with the rules of

procedure

w

12. Plaintiff‘s decedant, Bertha l\/l. LaGrone was a resident ofthe Defendant, EIGHT MlLE
at all times pertinent hereto where she was admitted for rehabilitation and care.

13. SOUTHERN operated within EIGHT MlLE providing services to l\/ls. Berth LaGrone.

14. During all times pertinent, the Defendants were well aware of l\/ls. Bertha LaGrone's
medical condition and her medical diagnoses

15. The Defendants were also well aware that Bertha LaGrone's medical condition made her
a high risk for development ofdecubitus ulcers.

l6. In an effort to assure that Bertha LaGrone and other residents were placed at the

defendant’s facilities, the Defendants held this facility out to the Alabama Department of Public Health
2

CaSe 1217-CV-OO540-CG-C DMMU|E\NI-l§§ Filed 12/07/17 Page 72 Of 108

and the public at large as being skilled in the performance of nursing, rehabilitative, health care and
other medical support services, and held EIGHT MlLE out as being properly staffed, supervised, and
equipped to meet the total needs of the patients and residents, and held EIGHT MlLE out as able to
specifically meet the needs ofl\/ls. Bertha l\/l. LaGrone and others similarly situated.

17. Defendants assumed the duty of rendering to Ms. Bertha M. LaGrone nursing,
rehabilitative, health care and other medical support services.

18. However, the named Defendants and all fictitious party defendants failed to discharge
their obligations related to this assumed duty of patient care directed toward l\/Is. Bertha LaGrone,
and, as a consequence thereof, Ms. LaGrone died as a direct result of Defendants' actions or inactions.

19. l\/Iore specifically, while in the care of the Defendants, Ms. Bertha LaGrone sustained
personal physical injuries including but not limited to septic shock and decubitus ulcers, which led to her
death.

20. in addition to the events outlined above, Ms. Bertha LaGrone suffered a pattern and
practice of abuse and neglect evidenced by her, among other things, having feces on her, improper
wound dressing, constantly appearing dirty and unkempt, among other things.

21. The above conditions, as well as the conduct specified below, caused Ms. Bertha
LaGrone to suffer extreme pain and suffering, physical degradation, anguish, and emotional trauma all
culminating in her death.

22. Plaintiff alleges that on all occasions complained of herein, Ms. Bertha LaGrone was
under the care, supervision, and treatment ofthe Defendants and their agents and or employees and that
her injuries, resulting death and the violations of her residents rights and dignity were proximately
caused by the acts and omissions of the named Defendants, and/or the fictitious defendants named
herein.

23. These Defendants also had and have vicarious liability for the acts and omissions of all
persons or entities under the Defendants’ contro|, either direct or indirect, including their employees,
agents, consultants, joint venturers, and independent contractors, whether in-house or outside entities,
individuals, agencies or pools.

24. Ms. LaGrone was eventually transferred to Springhill l\/lemorial Hospital on October 21,

2016 in septic shock due to the stage four decubitus ulcers and died on November l7, 2016.

COUNT I
(NEGLIGENCE)
25. Plaintiff adopts and incorporates by reference paragraphs 1-24 as iffully set out herein.
26. Defendants and their employees and/or consultants negligently breached their respective

duties of care directed toward l\/ls. Bertha l\/l. LaGrone in one or more ofthe following ways:
3

Case 1217-CV-OO540-CG-C DMWHVI-lf Filed 12/07/17 Page 73 Of 108

a]l

failure to provide sufficient numbers of qualified personne|, including nurses,
nurse assistants, medication aides, and orderlies/nurse assistants (“nursing
personnel”) to meet the total needs of Ms. Bertha l\/i. LaGrone while at the same
time meeting the total needs oftheir other nursing home residents which resulted

in inadequate staffing;

b} failure of Defendants to be able to adequately and appropriately meet the needs of
l\/is. Bertha M. LaGrone;

cl failing to or inadequately training and/or supervising medical personnel
attending l\/is. Bertha l\/l. LaGrone;

di failing to adhere to the standard of care exercised by similarly situated health
care providers in the nursing home community;

e) fraudulent charting;

f) failing to meet state requirements as to Ms. Bertha M. LaGrone;

g) other deficiencies which may be uncovered during the course ofthis litigation;

h) representing care was provided when it was not so provided;

il missing documentation; and

jj failing to use proper procedures, equipment, and personnel to help
l\/ls. Bertha l\/l. LaGrone.

27. As a proximate cause of the acts and omissions of defendants, and each of them, which

combined and concurred, l\/is. LaGrone was injured, damaged and eventually died.

WHEREFORE, Plaintiff demands judgment for damages against each defendant, separately and

severally, including the costs ofthis action.

COUNT II
(WANTONNESS)
ZH. Plaintiff adopts and incorporates by reference paragraphs l-27 as if fully set out herein.
211 Defendants and their employees and/or consultants wantonly breached their respective

duties of care directed toward Ms. Bertha M. LaGrone in one or more ofthe following

ways:

3)

failure to provide sufficient numbers of qualified personnel, including nurses,

nurse assistants medication aides, and orderlies/nurse assistants ("nursing

CaSe 1217-CV-OO540-CG-C D@t§i§iioil’§liii@f Filed 12/07/17 Page 74 Of 108

personnel”) to meet the total needs of Ms, Bertha M. LaGrone while at the same
time meeting the total needs oftheir other nursing home residents which resulted
in inadequate staffing;

h]l failure of Defendants to be able to adequately and appropriately meet the needs of
Ms. Bertha l\/i. LaGrone;

c] failing to or inadequately training and/or supervising medical personnel attending
l\/ls. Bertha M. LaGrone;

tl]i failing to adhere to the standard of care exercised by similarly situated health

care providers in the nursing home community;

e) fraudulent charting;
f) failing to meet state requirements as to Ms. Bertha M. LaGrone;
g) other deficiencies which may be uncovered during the course ofthis litigation;
h) representing care was provided when it was not so provided;
ij missing documentation; and
jj failing to use proper procedures, equipment, and personnel to help l\/ls. Bertha l\/i.
LaGrone,
30. As a proximate cause ofthe acts and omissions of defendants, and each ofthem, which

combined and concurred, plaintiffwas injured or damaged.

WHEREFORE, Plaintiff demands judgment for damages against each defendant, separately and

severally, including the costs ofthis action.

Respectfully submitted: November 1, 2017

ATTORNEYS FOR PLAINTIFF, FRANK H. KRUSE, as
Personal Representative of The Estate of Bertha M. LaGrone,

/s/ Mark E. Spear

MARK E. SPEAR (SPEOIZ)

G, RANDALL SPEAR (SPE016)
Spear, Spear & Hamby, P.C.

Post Office Box 1347

Mobile, AL 36633

(251) 344-8181
mestri;'ss]'iiaw@.i:om
grsr?ilsshlawpc.mm

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Permission Given By:
/s/ Jamesl Daz'l€}.'
JAMES J. DAILEY (DAIOOS)
1206 Dauphin Street
Mobile, AL 36604
(251) 441-9946

jdaileyo?)@hotmail.€om

Please Serve The Defendants As Follows:

VIA CERTIFIED MAIL

Eight Mile Nursing and Rehabilitation Center
c/o Registered Agent: Richard Gill

444 S. Perry St

Montgomery, AL 36104

VlA MOBILE COUNTY SHERIFF
Southern Care Hospice, Inc.

c/o Michael Pardy

1110 Montlimar Drive

Mobile, AL 36609

Case 1:17-cv-00540-CG-C Dgejér@,ggt;it-l% Filed 12/07/17 Page 76 of 108

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CIRCUIT COURT OF
1 MOBILE COUNTY, ALABAMA
lN THE PROBATE COURT OF MOBILE COUNTY, JOJO SCHWARZAUER, CLERK
lN THE MA'lTER OF CASE NO. 2017~0396
BERTHA M LAGRONE,
Deceased,
0RDER

 

Petition for Letters of Administration dated March 10, 2017, of the above named decedent is
hereby GRANTED this date. Surety Bond in the amount of $20,000.00 is hereby taken and approved.
Letters of Administration shall issue forthwith to FRANK l-l. KRUSE, as prayed. Letters of
Administration shall issue forthwith to FRANK H. KRUSE, Genera| Administrator for lVlobile County, as
prayed.

lt is further ORDERED that the Persona| Representative shall not deposit with legal counsel,
and legal counsel shall not receive, any funds or other assets of this estate which exceed the total
sum/value of $10,000 without prior approval of the Court. Any estate funds appropriately held by legal
counsel shall be placed in an interest account unless said funds are to be disbursed with forty-five (45)
days of receipt by legal counse|.

The Personal Representative is ORDERED to report to the Court if any litigation involving a
wrongful death or personal injury claim is commenced in another court. lf same is reported, the
Persona| Representative shall me with this Court a petition to determine the heirs of the decedent

lt is further ORDERED as follows:

inventory due May 8, 2017, at 3:30 p.m.

Annua| partial settlement and accounting due March 26, 2018

Dated this 20th day of March, 2017l

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DON DAV|S, Judge of Probate

 

 

Case 1:17-cv-00540-CG-C DM]@[@N;]=-IJ() Filed 12/07/17 Page 77 of 108

THE STATE OF ALABAMA COURT OF PROBATE
COUNTY OF MOB|LE CASE NO. 2017~0396
LETTERS OF ADM|N|STRAT|ON

l_etters of Administration of the Estate of BERTHA Nl LAGRONE, are hereby granted to FRANK
H. KRUSE, Genera| Administrator for Nloblle County Probate Court, who has duly qualified and given
bond as such Personal Representative and is authorized to administer such estate in accordance with
the powers and duties set out pursuant to A/a. Code §43-2-830, et seq. (1975). The powers and duties
of said Personal Representative specifically include, but are not limited to, gathering and retaining estate
assets, preparing an inventory of estate assets, paying taxes, fees, and expensesl including court costs,

incident to the administration of the estate The authority of the Persona| Representative is restricted

as follows:

 

 

 

Restrictions:

Personal Representative must immediately report to the Court the receipt of any monies or
assets which were not reported ln the initial inventory and/or are received while these Letters

are in effect.

 

 

 

 

Ordered this 20th day of March, 2017.

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DON DAVlS, Judge of Probate

 

CERTIF|ED COPY
DON DAV|S, JUDGE OF PROBATE
MOBlLE COUNTY,~ ALABAMA

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By: <__,___1_ __1._/#
JOE_ MCEARCHERN, JR., _Chi€f C|erk

 

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seat 02-Cv_2017-902859.00
CiRcurr COURT oF A
MOBILE couNTv, ALABAM
IN THE ClRCUlT COURT OF MOBILE COUNT ioio sCHwARZAUER, CLERK

FRANK H. KRUSE, as Personal Representative of *
The Estate of Bertha l\/l, LaGrone, deceased; *

Plaintiff,

v Case No.
EIGHT MlLE NURSING AND
REHABILITATION CENTER, LLC d/b/a
NORTl-l MOBILE NURSING AND REHAB
CENTER; and SOUTHERN CARE
HOSPICE, lNC, d/b/a SOUTHERN CARE
GREENVILLE,, and fictitious defendants 1-3
whose identities are currently unknown,

 

JURY TRIAL DEMANDED

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Defendants

FIRST INTERROGATORIES T() DEFENDANT
SOUTHERN CARE HOSPICE, INC. d/b/a SOUTHERN CARE GREENVILLE

COl\/lES NOW, Plaintiff, Frank H. Kruse, as Personal Representative of The Estate of Bertha M.
LaGrone, deceased, by and through undersigned counsel, and propounds the following Interrogatories to
Defendant Southern Care Hospice, lnc., d/b/a Southern Care Greenville:

Det'lnitions

1. "Plaintiff`l or "Plaintiffs" as used herein refers to FRANK H. KRUSE, as Personal
Representative ofthe Estate of BERTHA M. LAGRONE, deceased and resident defined below.

2. "The Resident" refers to BERTHA M. LAGRONE.

3 "You," "Your" and "Yours" means the Defendants to whom this set of lnterrogatories is
propounded. However, if responsive documents, electronically stored information and emails normally
kept and maintained by you are no longer in your possession, constructive possession, custody or control
but are now in the possession, constructive possession, custody or control of any other Controlling
Corporate Defendant, division, affiliate, subsidiary, or other business entity or individual, "You"' "Your"
and "Yours" shall be defined to include all such other business entity or individua|.

4 "The Nursing Home" and "The Facility" as used herein refers to Eight l\/Iile Nursing and
Rehabilitation Center, LLC, located at 4525 St. Stephens Rd., Prichard, AL 36613.

CaS€ 1217-CV-OO540-CG-C D(%tiii@l§llgliq-IJZ Filed 12/07/17 Page 79 Of 108

5 "Controlling Corporate Defendants" shall mean you, their central office, headquarters,
subsidiaries, merged or acquired predecessors, affiliates, successors, divested facilities, divisions or
subsidiaries, present and former officers, agents, employees, and all other
persons acting or purporting to act on behalf of Controlling Corporate Defendants.

6 "Document," "documents," and "documentation" shall be used in their broadest sense and
shall mean and include all written, printed or electronically stored information, including emai|s,
writings, drawings, graphs, charts, photographs, phono-records, electronically
transmitted communicative data, information stored on computer, or other data compilations
stored in any medium from which information can be obtained, translated, if necessary, by
you into reasonably usable form in accordance with Ala. R. Civ. P. 34. Such documents include those
that are in the possession, constructive possession, custody and control of the party upon whom this
request is served.

7 "Control" of documents /electronically stored information includes both possession and
the legal right to obtain the documents/electronical|y stored information upon demand. See Ex Parre
BASF Corp,, 957 So.2d 11 04 (Ala. 2006).

8 "Electronical|y stored information" includes but is not limited to all information stored,
managed or maintained on or by computers, or information transmitted in electronic
format by computer or other electronic device. This term specifically includes emails, facsimiles,
information stored in The Nursing Home's or Controlling Corporate Defendants' intranet or internet
system or website, information stored within a database or server, and information kept on separate
storage mediums, including but not limited to CD-ROl\/ls, memory sticks and portable hard drives.

9 "Nursing Personnel" or "direct care giver" means all persons responsible for giving
nursing related care to residents at The Nursing Home, Such personnel includes registered nurses,
licensed practical nurses, aides, medication aides, nurse aides, certified nurse aides, rehabilitative nurses,
restorative aides, restorative nurse aides, medication aides and orderlies, including relief or pool
personne|.

10 "Nursing care" or "direct care" means any nursing related care that is: (a) required by The
Resident, as defined by the comprehensive resident assessment, comprehensive care plan and physician
orders and treatments; and (b) performed by any nursing personnel, including any certified nurse aide at
The Nursing Home,

11 "Non-Nursing Personnel" means all personnel who are not responsible for providing
direct nursing care to residents at The Nursing Home. Such personnel includes administrative personnel
(defined below), dietary. medical records, activity, social services. housekeeping, laundry and

maintenance personnel.

Case 1:17-cv-0054o-cG-c D<Péti`ri»lt-:ilii“?r-‘i Filed 12/07/17 Page so or los

12 "Administrative Personnel" includes but is not limited to administrators, directors of
nursing, departmental heads, admissions coordinators and staff, l\/lDS coordinators, l\/ledicare
coordinators/nurses, care plan coordinators, marketing coordinators and staff and any billing and acuity
assessment coordinators/nurses at The Nursing Home.

13 "Therapy Staff" means all persons responsible for providing therapy services at The
Nursing Home, including but not limited to physical therapists, occupational therapists, speech
therapists, speech language pathologists, therapy technicians and restorative aides.

14 "Nurse Aide" means an individual providing nursing or nursing-related services to
residents ofThe Nursing Home under the supervision ofa licensed nurse.

15 "ldentify" means supply the name, job title (e.g., nurse aide, medication aide, RN, LPN,
or any other position held), address and telephone number.

16 "Communication," "correspondence," and "communication/correspondence" refer to
emails, facsimiles, letters, memos, notes and any other verbal communications reduced to written and/or
electronic form.

17 "Acuity of Resident" means the amount or level of everyday care required to meet the
minimum needs of a resident. Among other things, this takes into consideration the resident's
communication and cognitive skills, mood and behavior patterns, physical functioning and structural
problems, continence, disease diagnoses, health conditions, oral/nutritional status, skin condition,
activity pursuit patterns, medications, special treatments and procedures, and discharge potential.

INSTRUCTIONS

l The following written interrogatories are propounded to Defendants and are to be

answered in accordance with the ALABAMA RULES OF CIVIL PROCEDURE

2 The following interrogatories are to be answered separately and fully, by furnishing all
information in your possession, custody or control, including all information to which you have the
authority to compel from a third party, including any Controlling Corporate Defendant.

3 For each interrogatory and subpart of each interrogatory, ifthe information furnished in
your answer is not within your personal knowledge, identify each person to whom the information is a
matter of personal knowledge, if known.

4 The definitions set forth above are incorporated into these interrogatories Plaintiff relies
on these definitions to clarify the language contained herein.

5 lf you object to any particular interrogatory or part of an interrogatory, answer all

portions ofthe interrogatory or other interrogatories to which no objection is made,

Case 1:17-cv-0054o-cG-c Dci)étthé‘Hi“Et-li Filed 12/07/17 Page al or los

6 lf the space provided is not adequate to fully answer any interrogatory, please use
additional pages for your responses.

7 ln the event you sold or transferred ownership of The Nursing Home to any person or
entity at any time during The Resident's stay at The Nursing Home, you are requested to provide
information in response to these requests for the time frame The Nursing Home was under your
operation and control while The Resident resided at The Nursing Home, unless otherwise specified.

8 ln accordance with the ALABAMA RULES OF ClVlL PROCEDURE, you have a duty
to amend or supplement your discovery responses when you learn that your responses are incomplete or
incorrect when made, or, although complete and correct when made, is no longer complete and correct.

9 ln accordance with the ALABAMA RULES OF CIVIL PROCEDURE, you are to amend
or supplement your responses reasonably promptly after discovering the necessity for an amended or

supplemental response.

lNTERROGATORIES

1. Please state whether this defendant has been properly named in this suit. lf not, please

provide the proper name,

RESPONSE:

2. State the relationship between you and Defendant Eight l\/lile during the calendar year
2016.
RESPONSE:

3. Regarding the care or treatment of l\/ls. Bertha LaGrone, state how you were

compensated.

RESPONSE:

4. ldentify (by stating the name, address, telephone number, date of birth and period of
employment) all health care providers or workers who were direct care givers to l\/ls. Bertha LaGrone
since January 1, 2015. lnclude in your answer whether they are still employed by you,

RESPONSE:

5. State the name of any of your employees who provided care or treatment to l\/ls. Bertha
LaGrone in 2016 and were terminated and their termination date.

RESPONSE:

CaSe 1217-CV-OO540-CG-C D(P(§Ul*r’ll§fiii'lllw Filed 12/07/17 Page 82 Of 108

6. ldentify each and every complaint made to you regarding your care or treatment of l\/ls.
Bertha LaGrone at any time during the time you were providing direct care to her. Outline the basis of
all complaints and any actions taken as a result.

RESPONSE:

7. Do you hold any licenses with any state agency? lf so, provide the name of agency and
those who hold said licenses and the date said licenses were obtained.

RESPONSE:

8. identify (by stating the name, address, telephone number, date of birth and period of
employment) each person in the chain of command who directed, supervised or was primarily
responsible for monitoring the performance of medical professionals providing care to l\/ls. Berthan
LaGrone during 2015 and 2016.

RESPONSE:

9. State the name, addresses and phone numbers of each person who has any knowledge of
any acts relevant to this lawsuit or has any knowledge of any discoverable matter to this lawsuit, and as
to each such person, set forth completely and in detail the knowledge of each.

RESPONSE:

10. Do you contend that The Resident or The Resident's family contributed to The Resident's
declining medical condition or hindered your ability to provide direct care? lf yes, state the factual basis
to support your contention and identify every date you claim such conduct occurred. INSTRUCTION:
This includes any allegation or claim that The Resident refused Treatments, food or medications,
l\/loreover, this includes any allegation that The Resident's family refused treatment, etc., or objected to
transfers

RESPONSE:

1 1. lf you notified any physician or healthcare provider about any significant change in The
Resident's condition while in The Nursing Home and said notification is not specifically documented in
your medical records, identify each such notification by stating the date, time, person who made the
communication, the physician or healthcare provider who received it, and the substance of such

communication. INSTRUCTION: For the purposes ofthis interrogatory, a significant change means any

Case 1:17-cv-0054o-cG-c D&Stiil¢leliit“I-li Filed 12/07/17 Page ss or los

sign or symptom indicating deterioration or improvement of The Resident's physical, mental,
psychological or social condition.

RESPONSE:

12. Pursuant to Ala. R. Civ. P. 26(b)(3), please identify every witness you have interviewed
and every witness statement you have taken or received in this case by stating the name of the witness
and the date the interview or statement was taken.

RESPONSE:

Respectfully submitted: November 1, 2017

ATTORNEYS FOR PLAINTIFF, FRANK H. KRUSE, as
Personal Represerrtative of The Estate of Bertha M. LaGrone,

/s/ Mark E. Spear

MARK E. SPEAR (SPEOIZ)

G. RANDALL SPEAR (SPE016)
Spear, Spear & Harnby, P.C.

Post Office Box 1347

Mobile, AL 36633

(251) 344-8181

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Pemrission Given By:
/s/ James J. Daz'l€v
JAMES J. DAILEY (DAIOOS)
1206 Dauphin Street
Mobile, AL 36604
(251) 441-9946
jg,;-Lriley_[;i@hounail.cum

**PLEASE SERVE THE FOREGO|NG WlTH THE COlVlPLAlNT**

Case 1:17-cv-0054o-cG-c D<P&iiiit§EM-‘t Filed 12/07/_j:gr}zr§.._tiM___F>Eerg<@qs<¢i)gict\q§Y FILED

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MOBILE couNTY, ALABAMA
IN THE CIRCUIT COURT OF MOBILE COUNT Joio sCHWARZAUER, CLERK

FRANK H. KRUSE, as Personal Representative of *
The Estate of Bertha l\/l. LaGrone, deceased;

Plaintiff,

v Case No.
EIGHT MlLE NURSING AND
REHABILITATION CENTER, LLC d/b/a
NORTH MOBILE NURSING AND REHAB
CENTER; and SOUTHERN CARE
HOSPICE, INC, d/b/a SOUTHERN CARE
GREENVlLLE., and fictitious defendants 1-3
whose identities are currently unknown,

 

JURY TRIAL DEMANDED

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Defendants.

FIRST REQUESTS FOR PRODUCTION TO DEFENDANT
EIGHT MILE NURSING AND REHBILITATION CENTER, LLC

COl\/IES NOW, Plaintiff, Frank H. Kruse, as Personal Representative ofThe Estate of Bertha l\/l.
LaGrone, deceased, by and through undersigned counsel, and propounds the following First Requests
For Production to Defendant Southern Care Hospice, lnc., d/b/a Southern Care Greenville:

GENERAL INSTRUCTIONS

1. Data compilations, information recorded or microfilmed, microfiche, tapes, discs or other
data recorded or stored in electronic or magnetic form should be produced on jump drives or CD-ROl\/l
discs.

2. Documents and other tangible things produced in response to these requests should be
organized and labeled to correspond with each request,

3. if any request set forth below "overlaps" another request so as to call for the same
documents, electronically stored information or tangible things, it shall be sufficient response to state
under the "overlapping request" that the identical items have been produced under another request,
which should be specifically identified. Thus, where a document, electronically stored information or
tangible thing has been produced under a request, identical copies ofthe same document, electronically
stored information or thing need not be produced again unless it contains different markings, additions
or deletions or its content, form or makeup is distinguishable in any manner.

4. ln order to assure that each item or thing requested is described with reasonable

Case 1:17-cv-0054o-cG-c DBét&`riitShi“Tr-‘f Filed 12/07/17 Page ss or los

particularity, clarifying information is included under certain requests herein below set forth.
In such case, the additional information either summarizes the request or more specifically describes the
documents, electronically stored information, or things sought.

5. ln the event you sold or transferred ownership of Southern Care Hospice lnc., to any
person or entity at any time during The Resident's stay at The Facility, you are requested to provide
information in response to these requests for the time frame Southern Care Hospice, lnc., was under

your operation and control while The Resident resided at The Facility, unless otherwise specified.

DEFINITIONS
The following definitions apply to the requests for production contained herein.

1. "Plaintiff" or "Plaintiffs" as used herein refers to Frank H. Kruse, as the Personal
Representative of the Estate of Bertha l\/l. LaGrone, Deceased.

2. "The Resident" refers to Bertha l\/l. LaGrone.

3. "You," "Your" and "Yours" means the Defendant to whom this Request for Production is
propounded However, if responsive documents, electronically stored information and emails normally
kept and maintained by you are no longer in your possession, constructive possession, custody or control
but are now in the possession, constructive possession, custody or control of any other Controlling
Corporate Defendant, "You," "Your" and "Yours" shall be defined to include all such other Controlling
Corporate Defendants.

4. "The Nursing Home" and "The Facility" as used herein refers to Defendant Eight l\/lile
Nursing and Rehabilitation Center, LLC, at the location of 4525 St. Stephens Rd,, Prichard, Alabama
36613..

5. "Controlling Corporate Defendants" shall mean Southern Care Hospice, lnc., d/b/a
Southern Care Greenville, their central office, headquarters, subsidiaries, merged or acquired
predecessors, affiliates, successors, divested facilities, divisions or subsidiaries, present and former
officers, agents, employees, and all other persons acting or purporting to act on behalf of Controlling
Corporate Defendants.

6. "Document," "documents," and "documentation" shall be used in their broadest sense and
shall mean and include all written, printed or electronically stored information, including emails,
writings, drawings, graphs, charts, photographs, phono-records, electronically transmitted
communicative data, information stored on computer, or other data compilations stored in any medium

from which information can be obtained, translated, if necessary" by you into reasonably usable form in

Case 1:17-cv-0054o-cG-c D@étiiiit£htIlt Filed 12/07/17 Page se or los

accordance with Ala. R. Civ. P. 34. Such documents include those that are in the possession,
constructive possession, custody and control ofthe party upon whom this request is served.

7. "Control" of documents/electronically stored information includes both possession and
the legal right to obtain the documents/electronically stored information upon demand. See Ex Parle
BASF Corp., 957 So.2d 11 04 (Ala. 2006),

8. "Electronically stored information" includes but is not limited to all information stored,
managed or maintained on or by computers, or information transmitted in electronic format by computer
or other electronic device. This term specifically includes emails, facsimiles, information stored in The
Nursing Home's or Controlling Corporate Defendants' intranet or internet system or website, information
stored within a database or server, and information kept on separate storage mediums, including but not
limited to CD-ROl\/ls, memory sticks and portable hard drives.

9. "Nursing Personnel" or "direct care giver" means all persons responsible for giving
nursing related care to residents at The Nursing Home. Such personnel includes registered nurses,
licensed practical nurses, aides, medication aides, nurse aides, certified nurse aides, rehabilitative nurses,
restorative aides, restorative nurse aides, medication aides and orderlies, including relief or pool
personnel.

10. "Nursing care" or "direct care" means any nursing related care that is: (a) required by The
Resident, as defined by the comprehensive resident assessment, comprehensive care plan and physician
orders and treatments; and (b) performed by any nursing personnel, including any certified nurse aide at
The Nursing Home,

11. "Non-Nursing Personnel" means all personnel who are not responsible for providing
direct nursing care to residents at The Nursing Home; such personnel includes administrative personnel
(defined below), dietary, medical records, activity, social services, housekeeping, laundry and
maintenance personnel.

12. "Administrative Personnel" includes but is not limited to administrators, directors of
nursing, departmental heads, admissions coordinators and staff, l\/lDS coordinators, l\/ledicare
coordinators/nurses, care plan coordinators, marketing coordinators and staff and any billing and acuity
assessment coordinators/nurses at The Nursing Home,

13. "Therapy Staff‘ means all persons responsible for providing therapy services at The
Nursing Home, including but not limited to physical therapists, occupational therapists, speech
therapists, speech language pathologists, therapy technicians and restorative aides,

14. "Nurse Aide" means an individual providing nursing or nursing-related services to

residents ofThe Nursing Home under the supervision ofa licensed nurse.

Case 1:17-cv-0054o-cG-c DBétiiii'dhtilt Filed 12/07/17 Page sr or los

15. "ldentify" means supply the name, job title (e.g., nurse aide, medication aide, RN, LPN,
or any other position held), address and telephone number.

16. "Communication," "correspondence," and "communication/correspondence" refer to
emails, facsimiles, letters, memos, notes and any other verbal communications reduced to
written and/or electronic form.

17. "Acuity of Resident" means the amount or level of everyday care required to meet the
minimum needs of a resident. Among other things, this takes into consideration the resident's
communication and cognitive skills, mood and behavior patterns, physical functioning and structural
problems, continence, disease diagnoses, health conditions, oral/nutritional status, skin condition,

activity pursuit patterns, medications, special treatments and procedures, and discharge potential.

REQUESTS FOR PRODUCTION

You are hereby requested to produce the following documents and electronically stored information in

your possession, constructive possession, custody or control:

l. All records evidencing your relationship/contract with The Facility for the calendar year
2016.
RESPONSE:

2. All records evidencing your compensation for treatment of l\/Is. Bertha LaGrone.

RESPONSE:

3. PHOTOGRAPHS AND VlDEOS OF THE RESIDENT: True, correct and complete
copies ofall photographs or videos ofThe Resident, including but not limited to:
a. photographs or videos of The Resident's face; and
b. photographs or videos documenting The Resident's condition; and
c. photographs of The Resident's bedsore(s); and
c. photographs or videos of The Resident while involved in any activity or receiving
any care.

RESPONSE:

4. l\/lEDlCAL RECORDS: True, correct and complete copies ofall medical records, clinical
records, charts and documents/electronically stored information pertaining to The Resident, including

but not limited to any ofthe following:

Case 1:17-cv-0054o-cG-c D<R£ifiit-élfiiii-‘f Filed 12/07/17 Page ss or los

BUSlNESS RECORDS: All medical records, clinical records, charts and
documents/electronically stored information pertaining to The Resident which: l) were
created and compiled by you in the normal course of business; and 2) constitute business
records as defined in Rule 803( 6) ofthe Alabama Rules of Evidence.

ADL RECORDS: All records containing charting pertaining to The Resident used

by nurse aides, or which include documentation ofThe Resident's activities ofdaily
living, personal care and all other care rendered by nurse aides to The Resident,
REGULATORY RECORDS: All documents/electronically stored information

pertaining to The Resident which are required to be created and maintained by The
Nursing Home in accordance with Ala Admin. Code Chapter 420-5-10-.03(36).
l\/IEDICAL RECORDS NOT KEPT IN CHART: lf not included in response to The
Resident, whether or not such record is normally maintained as part ofthe "chart," '
created by nursing or non-nursing personnel at The Nursing Home, which evidence that:
(a) The Resident was provided any type or kind of care or treatment while a resident of
The Nursing Home; (b) specific actions, steps or measures had been planned or
implemented for The Resident; (c) nursing interventions had been accomplished for

The Resident; or (d) there had been a change in The Resident's condition,

INCIDENT REPORTS: All incident/accident reports, unusual occurrence reports

or variance reports, including all electronically stored information, emails,
correspondence, memoranda and documentation created or sent by anyone connected
with Southern Care Hospice or Controlling Corporate Defendants about any such
incident, accident or event.

COMPLAINT/INCIDENT INVESTIGATIONS: All complaint or incident investigations
undertaken by Southern Care Hospice, lnc., or Controlling Corporate Defendants prior to
receiving formal notice ofthis lawsuit which in any way relate to The Resident, including
all electronically stored information, e-mails, correspondence, memoranda and
documentation created by anyone connected to Southern Care Hospice, lnc., or by
Controlling Corporate Defendants.

lNJURY AND ADEQUACY OF CARE REPORTS: All documents/ electronically stored
information gathered in the ordinary course of business by Southern Care Hospice, lnc or
at Southern Care Hospice, lnc.'s request, prior to receiving formal notice ofthis lawsuit,
which evaluates or discusses any ofthe following matters:

l. relevant facts about any clinical condition, injury or problem developed by The

Resident while a resident ofThe Nursing Horne;

CaS€ 1217-CV-OO540-CG-C DC%{YFl‘leilq-lf Filed 12/07/17 Page 89 Of 108

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Instruction:

2. the cause of any clinical condition or injury present in The Resident when discharged
from The Nursing Home;

3. the preventability of any clinical condition developed by The Resident at The Nursing
Horne; or

4. the adequacy or inadequacy of care provided The Resident.

PROBLEl\/l REPORTS: All problem-oriented reports about The Resident.

CARE PLANS: All documents/electronically stored information relating to any plan of

care for The Resident, including but not limited to all health care plans, nursing care

plans, patient care plans, medical care plans, and nutritional plans.

THERAPY RECORDS: All physical therapy, occupational therapy, speech therapy or

rehabilitative records pertaining to The Resident.

l\/lD NOTIFICATIONS: All documents/electronically stored information, including

emails and faxes, which notify a physician or member ofthe physician staffabout The

Resident's condition, a change in The Resident's condition, a need for an order, the status

of any ordered treatment, the lack of progress of any ordered treatment and any

complaints or concerns about inadequate care of The Resident, including any kind of

writing or memorandum which memorializes any notification provided by Southern Care

Hospice, lnc. to any physician for The Resident.

ACUITY EVALUATIONS: All "l\/ledical~Nursing Care Evaluations" pertaining to

The Resident, or any other form submitted by The Nursing Home to any governmental

agency documenting the health care needs ofThe Resident.

LEVEL OF CARE DETERl\/IINATIONS: All documents/electronically stored

information which pertain to the level of care determination made regarding The

Resident.

CONSULTANT RECORDS: All documents/electronically stored information

pertaining to The Resident created by any consultant for Southern Care Hospice, lnc.,

including but not limited to: (l) dietary consultant reports; (2) pharmaceutical consultant

reports; and (3) nursing consultant reports.

24-HOUR REPORTS: All twenty-four hour reports, shift change reports and all

electronically stored information, documents, faxes and emails regarding such reports,

which in any way refer to or concern The Resident.

Please redact the names of any other residents (but not the name of The Resident) referenced in the

assessments to protect their privacy.

CaSe 1217-CV-OO540-CG-C D@éi§rliilié‘ll;ilt“_l_-l§ Filed 12/07/17 Page 90 Of 108

Instruction:

CHANGE lN CONDITION ASSESSMENTS: All assessments pertaining to The
Resident, including those transmitted by email, which reference The Resident or
document any condition or change in The Resident's condition, including all
electronically stored information, e-mails, documentation and faxes about such change in

condition assessment.

Please redact the names of any other residents (but not the name of The Resident) referenced in the

assessments to protect their privacy.

Instruction:

CHANGE lN CONDlTlON REPORTS: All change in condition reports pertaining to
The Resident including all documents, emails, electronically stored/transmitted
information and faxes created for the purpose of communicating to another a significant
change in the condition ofThe Resident or any care~related problem/issue pertaining to

The Resident.

Please redact the names of any other residents (but not the name of The Resident) referenced in the

assessments to protect their privacy.

MASTER SIGNATURE LEGENDS: All master signature legends which identify

the signatures and corresponding initials for all direct care givers at Southern Care
Hospice, lnc., created or used during The Resident's period oftreatment.
CONTROLLED SUBSTANCE RECORDS: All controlled substances records, as such
term is used in Ala Admin. Code Chapter 420~5-10-.16 for The Resident.

El\/IAILS AND COl\/IMUNICATIONS REGARDING THE RESIDENT: All emails,
reports, documents, facsimiles or other correspondence pertaining to The Resident's
clinical condition, treatment or care, including any complaints/concerns about The
Resident's care, treatment or clinical condition sent or received by: l) Southern Care
Hospice, lnc.'s administrative personnel, nursing personnel and/or therapy staff; 2)
dietary consultant for The Nursing Home; 3) pharmaceutical consultant for The Nursing
Home; 4) regional/corporate nurse for Controlling Corporate Defendants; 5) Controlling
Corporate Defendants' regional/corporate vice president; and 6) corporate compliance

department.

Case 1:17-cv-0054o-cG-c D<Pétiiirlt-:il=ii“'ii-‘f Filed 12/07/17 Page 91 or los

u. OTHER: All other records, documents and electronically stored information (including
but not limited to hospital, medical, or facility records, in The Nursing Home's possession
or control pertaining to the clinical condition, treatment or care of The Resident,
irrespective ofthe source or author of such documentation.

RESPONSE:

5. FINANCIAL FlLE: True, correct and complete copies ofThe Resident's entire Financial
File, including but not limited to all l\/ledicare and l\/ledicaid billing records for The Resident and all the
billing records, reimbursement records and supporting documents,

RESPONSE:

6. ADMISSION FILE: True, correct and complete copies of The Resident's entire
Admission File.

RESPONSE:

7. HANDBOOKS, BROCHURES AND LITERATURE: True, correct and complete copies
of all handbooks, brochures and other literature given to The Resident and/or the family of The
Resident.

RESPONSE:

8. PERSONNEL FILES: True, correct and complete copies ofthe entire personnel file,
including documents/electronically stored information, for: 1) all administrative personnel who worked
and provided direct nursing care to The Resident at The Facility during the calendar years 2015 and
2016; and, 2) all medical personnel who provided care to The Resident during 2015 and 2016 at The
Nursing Home, which were created and compiled by you in the normal course of business and constitute
business records as defined in Rule 803(6) ofthe Alabama Rules of Evidence:

RESPONSE:

8. All documents/electronically stored information containing policies, procedures, manuals
or guidelines in effect during The Resident's stay at The Facility which are relevant to the care or
treatment rendered to The Resident at The Facility or which governed, established, or set forth the
expected standard of care for residents and standard of conduct for employees working at Southern Care
Hospice, lnc. during The Resident's stay which: l) were created and compiled by Southern Care

Hospice, lnc. and/or Controlling Corporate Defendants in the normal course of business; and 2)

Case 1:17-cv-0054o-cG-c DcR§tHi¢lt-;<iii“I-lt Filed 12/07/17 Page 92 or los

constitute business records as defined in Ru|e 803(6) of the Alabama Rules of Evidence, including but

not limited to all ofthe following:

'cl.

RESlDENT CARE POLICIES: All Resident Care Policies, Procedures and

l\/lanuals in effect at Southern Care Hospice, Inc during 2015 and 2016,

b.

POLICIES REGARDING THE RESIDENT'S PROBLEMS: All procedures, policies,
manuals, forms and guidelines regarding any clinical condition ofThe Resident or
care/treatment required by The Resident in effect at Southern Care Hospice, lnc during
the 2015 and 2016, including but not limited to the following:
l. Pressure sore prevention, treatment and care;

. Wound care;

. Alzheimer's/dementia;

. Diabetes;

. Coronary artery disease and/or congestive heart failure;

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6. Weight loss prevention, treatment and care;
7. Malnutrition prevention, treatment and care;

8. Dehydration prevention, treatment and care;

9. lnfection prevention, treatment and care; and

10. Restorative care and rehabilitative care,

POLICIES DEVELOPED IN RESPONSE TO THE RESIDENT'S PROBLEMS: All
procedures, policies and guidelines developed in response to any condition or care related
problem developed by The Resident by Southern Care Hospice, lnc.
ADl\/lINISTRATIVE/OPERATIONAL POLICIES: The entire Administrative and/or
Operational Policy and Procedural Manual in effect at Southern Care Hospice, Inc during
2015 and 2016.

PERSONNEL POLICIES: All Personnel/Human Resource Policies, Procedures or
l\/lanuals in effect at Southern Care Hospice, Inc during 2015 and 2016.
RECRUlTl\/IENT, ADl\/llSSlONS AND CENSUS POLICIES: All employee and/or
resident recruitment, retention, admissions, sales or census development policies,
procedures or manuals in effect at Southern Care Hospice, lnc during 2015 and 2016.
MANAGEMENT PRACTICE GUIDELINES: A complete copy ofthe l\/lanagement
Practice Guidelines in effect at Southern Care Hospice, Inc during 2015 and 2016.
QUALITY ASSURANCE MANUALS: All written guidelines, policies, manuals and

procedures regarding the establishment, methodology, implementation and operation of

Case 1:17-cv-0054o-cG-c Ddt£t§i¢leiii“'i-‘t Filed 12/07/17 Page 93 or los

9.

any quality assurance program, study or evaluation, including all forms to be completed
or utilized in effect at Southern Care Hospice, lnc. during 2015 and 2016.

DRUG DESTRUCTION POLICIES: All policies and procedures of Southern Care
Hospice, Inc. relating to the destruction or disposal of drugs and narcotics in effect at
Southern Care Hospice, lnc. during 2015 and 2016.

JOB EVALUATION POLICIES AND PROCEDURES: All written guidelines, forms, or
procedures in effect at Southern Care Hospice, Inc. during 2015 and 2016 evaluating the
job performance ofthe director, administrator or nursing personnel at Southern Care

Hospice, lnc.

CHAIN OF COMMAND: True, correct, complete and legible copies of any

documents/electronically stored information or charts applicable to The Resident's treatment showing

the hierarchy and/or chain of command within and between Southern Care Hospice, Inc. and any

controlling corporate defendant,

Clarifying Instruction:

For the purposes of this request, documents or charts showing hierarchy and chain of command means

any kind ofdocument, including but not limited to a flow chart which identifies by name, position, rank

and job title as many ofthe following person(s) as possible applicable to the resident's stay:

_O`?°

_O

Presidents of any named defendant;

Directors and officers of any named defendant;

Heads of operations for any named defendant;

Operations officers, managers, department heads, or individuals holding regional,
district, area or any leadership positions in any subpart ofoperations structure containing
Southern Care Hospice, lnc., including but not limited to, area managers, regional
managers, district directors, regional nurses, clinical directors, head oftotal quality
management, financial manager, human resource director or manager, managers of
marketing, or any marketing director;

Operations officer, manager, department head or individual who held any regional,
district, or area leadership or management position within that portion ofthe operations
structure which includes Southern Care Hospice, lnc;

Persons employed by Southern Care Hospice, lnc. and any controlling corporate
defendant who were responsible for approving, monitoring, and reviewing the budget for

Southern Care Hospice, lnc. and Southern Care Hospice, lnc's financial performance;

Case 1:17-cv-0054o-cG-c Dd)c“tle¥‘Hi“I-‘f Filed 12/07/17 Page 94 or los

g. Persons employed by any named defendant, whosejob description included
supervising, monitoring, reviewing operations performance or compliance with
policies and procedures, or consulting with the administrator, director of nurses, head
ofdietary services or any departmental head of Southern Care Hospice, lnc;

l'r. lndividuals employed by any named defendant who were in any respect responsible for
monitoring, performing, or reviewing any ofthe following functions at Southern Care
Hospice, lnc.:

l. Compliance with the Alabama Department of Public Health licensure and
certification requirements;

2. Compliance with administrative policies and procedures of Southern Care Hospice,
lnc. and any controlling corporate defendant;

3. Compliance with Standard l\/lanagement Practices (Sl\/lP) of Southern Care Hospice,
Inc. and any controlling corporate defendant;

4. Total Quality l\/lanagement (TQi\/l);

5. Uniform and Comprehensive Quality Assurance Program; and

6. Corporate compliance program.

RESPONSE:

10. MANAGEMENT CONTRACTS/AGREEMENTS: True, correct and complete copies of
all management contracts or agreements between Southern Care Hospice, lnc. and controlling corporate
defendants and any other person or entity that were in force and effect during the resident's stay and are
applicable to Southern Care Hospice, lnc.

RESPONSE:

ll. W|TNESS STATEMENTS: True, correct and complete copies of all statements,
including documents/electronically stored information and correspondence, of any person with
knowledge of relevant facts - a "witness statement" - regardless of when the statement was made,
including but not limited to witness statements obtained prior to lawsuit, resident and family statements,
audio and videotapes of any statements.

RESPONSE:

12. lNSURANCE AGREEMENTS AND POLICIES: All insurance agreements and policies
which afford coverage to you or your agents, employees, or officers, for any conduct alleged against you

in Plaintiffs Complaint including any ofthe following more particularly described policies:

Case 1:17-cv-0054o-cG-c Ddi£iliiit-:~'iii“l`-‘f Filed 12/07/17 Page 95 or los

s. All insurance agreements and/or policies, in their entirety which afford protection to
you for the acts and omissions set forth by Plaintiffs in their original petition in the
above entitled and numbered cause including, but not limited to, primary, umbrella
and excess policies, which may obligate any respective insurance company to satisfy
part or all ofajudgment which may be rendered in this action against the Defendant.

b. All insurance agreements and/or policies in their entirety including, but not limited to,
primary. umbrella and excess policies, which may obligate any respective insurance
company to satisfy part or all ofajudgment which may be rendered in an action
against either the administrator ofthe facility as a consequence of any act or omission
by said administrator, member of governing body, or staff member.

c. All insurance agreements and/or policies in their entirety which pertain to any
management company engaged by you to operate the facility including, but not limited
to, primary, umbrella and excess policies, which may obligate any respective insurance
company to satisfy part or all ofajudgment which may be rendered in an action
against the said management company arising out of its acts or omissions.

RESPONSE:

13. Any and all communications to any healthcare provider or state agency regarding l\/ls.
Bertha LaGrone.
RESPONSE:

Respectfully submitted: November 1, 2017

ATTORNEYS FOR PLAINTIFF, FRANK H. KRUSE, as
Personal Representative of The Estate of Bertha M. LaGrone,

/S/ Mark E. Spear

MARK E. SPEAR (SPEOIZ)

G. RANDALL SPEAR (SPE016)
Spear, Spear & Harnby, P.C.

Post Office Box 1347

Mobile, AL 36633

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Perrrrission Given By:
/s/ James]. Daz'le’v

JAMES J. DAILEY (DAIOOS)
1206 Dauphin Street

Mobile, AL 36604

(251) 441-9946

jdailey63(a2hotmail.com

PLEASE SERVE THE FOREGOING WITH THE C()MPLAINT

Case 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 97 of 108

AlaFile E-Notice

 

02-CV-2017~902859.00

To: l\/lark E Spear
mes@ssh|awpc.com

 

NOT|CE OF ELECTRON|C FlLlNG

 

|N THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA

FRANK l~l. KRUSE \/. E|GHT l\/l|LE NURS|NG AND REHABlL|TAT|ON CENTER DBA ET
02~C\/-20'l7-902859.00

The following alias summons was FlLED on 11/13/2017 9:00:08 Al\/l

NOtiCe Date; ‘11/13/2017 9:00:08 Al\/l

JOJO SCHWARZAUER
ClRCUlT COURT CLERK
MOB|LE COUNTY, ALABAMA
ClRCUlT ClV|L D|VlSlON

205 GO\/ERNMENT STREET
MOB|LE, AL, 36644

251 ~574-8420
charles.|ewis@alacourt.gov

Case 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 98 of 108

AlaFile E-Notice

 

02-CV~2017~902859.00

TO: SOUTHERN CARE HOSP|CE, lNC
26179 CAP|TAL DR|VE, STE.
DAPHNE, AL, 36526

 

NOT|CE OF ELECTRON|C FlL|NG

 

lN THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA

FRANK H. KRUSE \/. E|GHT MlLE NURS|NG AND REHAB|L|TAT|ON CENTER DBA ET
02-CV-2017-902859.00

The following alias summons was F|LED on 11/13/2017 9:00:08 Al\/l

Notice Date: 11/13/2017 9:00:08 AlVl

JOJO SCHWARZAUER
ClRCUlT COURT CLERK
MOB|LE COUNTY, ALABAMA
ClRCUlT ClV|L DlVlSlON

205 GOVERNMENT STREET
MOBILE, AL, 36644

251 -574-8420
charles.lewis@alacourt.gov

Case 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 99 of 108

 

stare ofAla_bama SUMMQNS Court Case Number
Unrfred Judrcra| System 02_C\/_2017_902859_OO
Form c~34 Rev.4/2o17 - ClV|L -

 

 

 

lN THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA
FRANK H. KRUSE V. EIGHT MlLE NURS|NG AND REHAB|L|TATlON CENTER DBA ET

NOT|CE TO; sourHERN cARE HosPrcE. rNc. 26179 cAPrTAL oRivE, er., oAPHNE, AL 36526
(Name and Address of Defendant)

THE COMPLAlNT OR OTHER DOCU|VlENT WH|CH |S ATTACHED TO TH|S SUl\/lMONS lS llVlPORTANT, AND YOU lVlUST
TAKE llVlMED|ATE ACT|ON TO PROTECT YOUR RlGHTS. YOU OR YOUR ATTORNEY ARE REQU|RED TO FlLE THE
OR|G|NAL OF YOUR VVR|TTEN ANSWER, E|THER ADl\/llTTlNG OR DENY|NG EACH ALLEGATION lN THE COMPLAlNT OR
OTHER DOCUMENT, W|TH THE CLERK OF TH|S COURT. A COPY OF YOUR ANSWER lVlUST BE lVlA|LED OR HAND
DEL|VERED BY YOU OR YOUR ATTORNEY TO THE PLA|NT|FF(S) OR ATTORNEY(S) OF THE PLA|NT|FF(S),

l\/lark E Spear

 

[Name(s) of /-'lttorney(s)]

WHOSE ADDRESS(ES) lS/ARE; Post Office Box1347, l\/lObile, AL 36633
[Address(es) of P/ainf/ff(s) or Atforney(s)]

THE ANSWER lVlUST BE MA|LED OR DEL|VERED W|TH|N 30 DAYS AFTER TH|S SUNllVlONS AND COMPLAlNT OR
OTHER DOCUMENT WERE SERVED ON YOU OR A JUDG|V|ENT BY DEFAULT l\/lAY BE RENDERED AGAINST YOU FOR
THE lVlONEY OR OTHER TH|NGS DEMANDED |N THE COMPLAlNT OR OTHER DOCU|V|ENT.

 

TO ANY SHER|FF OR ANY PERSON AUTHOR|ZED BY THE ALABAMA RULES OF ClV|L
PROCEDURE TO SERVE PROCESS:

ivi You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
this action upon the above-named Defendant.
5` Service by certified mail of this Summons is initiated upon the written request of

 

 

 

pursuant to the Alabama Rules of the Civi| Procedure. [Name($)]
11/13/2017 9100§08 ANl /S/ JOJO SCl'l\/VARZAUER E§I'l
(Date) (S/'gnature of C/erk) (Name)

 

Certified l\/lai| is hereby requested

 

(P/aintiff’s/Atforney's S/'gnature)

 

 

RETURN ON SERV|CE

§ Return receipt of certified mail received in this office on

 

(Date)
1 1 | certify that l personally delivered a copy of this Summons and Complaint or other document to
in County,
(Name of Person Served) (Name of County)

Alabama on

 

(Dale)

 

(Address of Server)

 

(Type of Process Server) (Server's Signature)

 

 

(Server's Pr/`nted Name) (Phone Number of Server)

 

 

Case 1:17-cv-0054o-cG-c Do%tifriieihtiiT-il i=iieci 12/07/17 Page 100 or los

 

stare of Alabama SUMMONS Court Case Number
unified midst wm 02-CV-201 7-902859.00
Form c-34 Rev.4/2017 - ClV|L -

 

 

 

lN THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA
FRANK H. KRUSE V. EIGHT MlLE NURS|NG AND REHAB|L|TATlON CENTER DBA ET

NOT|CE TO: sourHERN GARE HOSP|CE\ iNC, 26179 CAPiTAL DRiVE, STE., DAPHNE. AL 36526
(Nanie and Address of Defendaii!)

THE COMPLAlNT OR OTHER DOCUN|ENT WH|CH |S Ai`l'ACHED 'l`O TH|S SUMMONS lS IMPORTANT, AND YOU NlUST
TAKE iMNlEDlATE ACTlON TO PROTECT YOUR RlGHTS. ¥OU OR YOUR ATTORNEY ARE REQU|RED TO FlLE THE
OR|G|NAL OF YOUR WR|TTEN ANSWER, ElTHER ADM|TTlNG OR DENYING EACH ALLEGATlON |N THE COMPLAlNT OR
OTHER DOCUMENT, WlTH THE CLERK OF TH|S COURT. A COP¥ OF YOUR ANSWER NlUST BE MA|LED OR HAND
DELlVERED BY YOU OR YOUR ATTORNEY TO THE PLA|NT|FF(S) OR ATTORNEY(S) OF THE PLA|NTIFF(S),
iVlark E Spear

[i\lame(s) ofAi‘tomei/(s)]

WHOSE ADDRESS(ES) lS/ARE: Post Office Box 1347, Mobile, Al. 36633
[Address(es) of Plainti`ff(s) or Aliomey(s)]

THE ANSWER MUST BE NlA|LED OR DEL|VERED WlTH|N 30 DAYS AFTER THIS SUMMONS AND COMPLAlNT OR
OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT NlA\' BE RENDERED AGAINST YOU FOR
THE MONEV OR OTHER THINGS DEMANDED lN THE COMPLAlNT OR OTHER DOCUMENT.

 

TO ANY SHER|FF OR ANY PERSON AUTHOR|ZED BY THE ALABAMA RULES OF ClV|L
PROCEDURE TO SERVE PROCESS:

1321 You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
this action upon the above-named Defendant.
m Service by certified mail of this Summons ls initiated upon the written request of

 

 

 

 

 

 

 

 

 

pursuant to the Alabama Rules of the Civil Procedurei WH’"B(S)]
11/13/2017 9:00:08 AM /s/ JOJO SCHWARZAUER Bi_.r'
(Datel (Sig/iaiure of Cierk) (Name)
l:'l Certliied Mall le hereby requested __
(PIaintiff's/Aitomey’s S/`gnature)
RETURN ON SERV|CE
|:`l rn receipt of certified mail received in this office on .
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certify mgihat l p ona|l delivereda opy of this Summ ns andC Complaint or other document tci H:l'l M@W
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02-CV-2017-902859.00
FRANK H. KRUSE v. EieHT iviiLE NuRsiNe AND REHABiLiTAnoN cENTER DBA Er

  

 

COO1 - KRUSE_F§ANK H. "'- DOOZ - SOUTHERN CARE HOSP|CE, lNC
(Plairi!lii‘) (Defendant)

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Case 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 101 of 108

A|aFile E-Notice

 

02-CV-2017-902859.00
Judge: JAMES T. PATTERSON

To: SPEAR lVlARK EDWARD
mes@ssh|awpc.com

 

NOT|CE OF SERV|CE

 

lN THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA

FRANK H. KRUSE V. E|GHT l\/l|LE NURS|NG AND REHAB|L|TATlON CENTER DBA ET
02-CV-2017-902859.00

The following matter was served on 11/14/2017

D002 SOUTHERN CARE HOSP|CE, lNC
Corresponding To
PROCESS SERVED

JOJO SCHWARZAUER
ClRCUlT COURT CLERK
MOB|LE COUNTY, ALABAMA
ClRCUlT ClV|L DlVlS|ON
205 GOVERNMENT STREET
MOB|LE, AL, 36644

251 ~574-8420
charleslewis@alacourt.gov

Case 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 102 of 108

AlaFile E-Notice

 

02-C\/-2017-902859.00

Judge: JAl\/lES `l`. PATTERSON

To: SPEAR GARY RANDALL
grs@sshlawpc.com

 

NOT|CE OF SERV|CE

 

lN THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA

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205 GOVERNN|ENT STREET
MOB|LE, AL, 36644

251 -574-8420
charles.lewis@alaeourt.gov

Case 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 103 of 108

AlaFile E-Notice

 

02-C\/-2017-902859.00

Judge: JAl\/lES T. PATTERSON

To: DA|LEY JAl\/lES JOl-lN
jdailey63@hotmail.com

 

NOT|CE OF SERV|CE

 

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Case 1:17-cV-0054O-CG-C Document 1-1 Filed 12/07/17 Page 106 of 108

A|aFi|e E-NOtiCe

 

02-CV-201 7-902859. 00
Judge: JA|\/IES T. PATTERSON

To: SPEAR MARK EDWARD
mes@ssh|awpc.com

 

NOT|CE OF SERV|CE

 

|N THE ClRCUlT COURT OF MOB|LE COUNTY, ALABAMA

FRANK H. KRUSE V. E|GHT |\/||LE NURS|NG AND REHAB|L|TATlON CENTER DBA ET
02-C\/-20`l 7-902859.00

The following matter Was served on 11/27/2017

D001 E|GHT MlLE NURS|NG AND REHAB|L|TATlON CENTER DBA
Corresponding To
CERT|F|ED |\/IA|L

JOJO SCHWARZAUER
ClRCUlT COURT CLERK
MOB|LE COUNTY, ALABAMA
ClRCUlT ClV|L D|VIS|ON
205 GOVERN|V|ENT STREET
MOB|LE, AL, 36644

251 -574-8420
charles.|ewis@alacourt.gov

Case 1:17-cV-00540-CG-C Document 1-1 Filed 12/07/17 Page 107 of 108

A|aFi|e E-Notice

 

O2-CV-2017-902859.00
Judge: JAMES T. PATTERSON

To: SPEAR GARY RANDALL
grs@sshlawpc.com

 

NOT|CE OF SERV|CE

 

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Case 1:17-cv-00540-CG-C Document 1-1 Filed 12/07/17 Page 108 of 108

AlaFi|e E-Notice

 

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Judge: JAN|ES T. PATTERSON

To: DA|LEY JAMES JOHN
jdai|ey63@hotmail.eom

 

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